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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      Sherman Division


     ED BUTOWSKY, in his Individual              )
     And Professional Capacities                 )
                                                 )
             Plaintiff,                          )
                                                 )
     v.                                          )              Case 4:18-cv-442-ALM-CMC
                                                 )
                                                 )              TRIAL BY JURY
     DAVID FOLKENFLIK                            )              IS DEMANDED
     NATIONAL PUBLIC RADIO, INC.                 )
     EDITH CHAPIN                                )
     LESLIE COOK                                 )
                                                 )
     -and-                                       )
                                                 )
     PALLAVI GOGOI                               )
                                                 )
             Defendants.                         )
                                                 )


                          THIRD AMENDED COMPLAINT
             Plaintiff, Ed Butowsky, in his personal and professional capacities, by counsel,

     pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure (the “Rules”), files the

     following Amended Complaint against Defendants, David Folkenflik (“Folkenflik”),

     National Public radio, Inc. (“NPR”), Edith Chapin (“Chapin”), Leslie Cook (“Cook”),

     and Pallavi Gogoi (“Gogoi”), jointly and severally.

             Plaintiff seeks (a) compensatory damages and punitive damages in a sum not less

     than $60,000,000.00, (b) prejudgment interest on the principal sum awarded by the

     Jury from August 1, 2017 to the date of Judgment at the rate of five percent (5%) per




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     year, and (c) costs – arising out of the Defendants’         defamation per se, business

     disparagement and civil conspiracy.

                                      I. INTRODUCTION




            1.      This is a case about collusion between a media correspondent and a

     lawyer. This case involves misconduct by the unethical and reckless journalist, who was

     spoon-fed a false narrative about President Trump and Fox News with instructions to leak

     the fake story online and in social media in the early morning hours of August 1, 2017.

            2.      The four (4) foundational principles of ethical journalism are:

            ●       Seek Truth and Report It;

            ●       Minimize Harm;

            ●       Act Independently; and

            ●       Be Accountable and Transparent.



                                                  2
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     [https://www.spj.org/pdf/spj-code-of-ethics.pdf; see id., http://asne.org/resources-ethics-

     wapo;        http://asne.org/resources-ethics-wsj;   http://asne.org/resources-ethics-nyinteg;

     http://asne.org/resources-ethics-sananton; http://asne.org/resources-ethics-dallas].

             3.        NPR keeps and maintains an “ethics handbook”, which states that NPR’s

     “purpose is to pursue the truth. Diligent verification is critical.” NPR publicly represents

     that its goal is to “tell the truest story possible”. The NPR ethics handbook emphasizes:




     NPR admits that “errors of omission and partial truths can inflict great damage”.

     [http://ethics.npr.org/].

             4.        The evidence in this case demonstrates that Folkenflik – a journalist

     renowned for his bias against the Fox News Network (“Fox”) – knowingly, intentionally

     and recklessly violated every principle of ethical journalism when, acting in concert and



                                                     3
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     conspiracy with Douglas H. Wigdor (“Wigdor”), he published and republished false and

     defamatory statements that harmed an innocent citizen, Plaintiff, Ed Butowsky.

            5.     Between August 1, 2017 and March 14, 2018, Folkenflik and NPR

     published multiple online articles and republished those articles to new target audiences

     via Twitter – articles and tweets in which they made and repeated false and defamatory

     statements of and concerning Butowsky, including:

                                        AUGUST 1, 2017

                 “Behind Fox News’ Baseless Seth Rich Story: The Untold Tale”
        https://www.npr.org/2017/08/01/540783715/lawsuit-alleges-fox-news-and-trump-
                              supporter-created-fake-news-story

            ●      Fox News’ May 16, 2017 story, “Seth Rich, slain DNC staffer, had contact
                   with WikiLeaks, say multiple sources”, was “baseless”;

            ●      The Fox News story was a “fake news story” (emphasis in original);

            ●      The Fox News story was a “deceptive story”;

            ●      “Butowsky presented himself as a good Samaritan who came across a
                   sliver of information about Seth Rich’s death and shared it with the
                   Riches”;

            ●      Wheeler did “not make great headway” in his investigation of the murder
                   of Seth Rich.

            ●      “The FBI informs Butowsky, Wheeler and Zimmerman that the agency is
                   not assisting the Washington, D.C., police on the investigation –
                   undercutting claims about an FBI report.”

            ●      “Zimmerman’s online story … cites Wheeler, incorporating two key
                   quotations from Wheeler that do not appear on video. In each, the private
                   investigator seemingly takes ownership of the accusations”;

            ●      “Despite his misgivings, Wheeler plays along” with the fake news
                   promoted by Butowsky and Zimmerman.




                                                4
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                                       AUGUST 7, 2017

               “David Folkenflik: ‘Very Hard to Rule Out’ White House Involvement
                                     in Seth Rich Conspiracy”
       https://www.mediaite.com/online/david-folkenflik-very-hard-to-rule-out-white-house-
                               involvement-in-seth-rich-conspiracy/]

            ●      “Sadly, the way in which this White House has operated has forced people
                   to go out and to say things that are almost certainly knowingly untrue, and
                   that are often proven certainly to be untrue”;

            ●      “[C]ollaboration” between Butowsky and the President “is still a plausible
                   assumption with the current evidence”;

            ●      “Butowsky’s narrative is ‘inconsistent”.

                                       AUGUST 7, 2017

      “Fox News’ Seth Rich Story Echoes Previous Problems For Owner Rupert Murdoch”
      https://www.npr.org/2017/08/07/542087047/fox-news-seth-rich-story-echoes-previous-
                              problems-for-owner-rupert-murdoch

            ●      “Revelations about Fox News’ role in concocting a baseless story on the
                   death of a young Democratic staffer has problematic echoes for the
                   network’s controlling owner, Rupert Murdoch”.

            ●      A “new journalistic scandal involving Murdoch's Fox News channel and a
                   murder in the U.S. could damage his prospects in London once again”;

            ●      “Murdoch’s Fox News concocted a story on the killing of a young
                   Democratic aide in order to help President Trump”.

                                       AUGUST 16, 2017

            “The Man Behind The Scenes In Fox News’ Discredited Seth Rich Story”
        https://www.npr.org/2017/08/16/543830392/the-role-of-ed-butowsky-in-advancing-
                                    retracted-seth-rich-story

            ●      Butowsky was “The Man Behind The Scenes In Fox News’ Discredited
                   Seth Rich Story”;

            ●      “Until now, Ed Butowsky has enjoyed edging close to the limelight — an
                   investment adviser who has pursued celebrity clients, his profile burnished
                   through appearances on Fox News and its sister channel Fox Business
                   Network.”




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           ●      “Butowsky displays no curiosity about the way Fox’s reporting and his
                  activities affected the very people [the Rich Family] he says he sought to
                  help”.

                                  AUGUST 16, 2017 – Twitter
                https://twitter.com/davidfolkenflik/status/897959792714579968

           ●      “My deep dive on Ed Butowsky, the financial talking head who helped to
                  propel Fox News’ discredited Seth Rich story”.

           ●      “Ed Butowsky is the money manager who played a key role in a since-
                  retracted Fox News expose about the murder of a young Democratic
                  Party aide”.

                                   SEPTEMBER 15, 2017

               “No Apology, No Explanation: Fox News And The Seth Rich Story”
       https://www.npr.org/2017/09/15/551163406/fox-news-has-yet-to-explain-what-what-
                                    wrong-in-seth-rich-story

           ●      “Fox News was compelled to retract the story, which involved presidential
                  politics, international intrigue and a man’s murder. When a story of this
                  scale crumbles, most news organizations feel obligated to explain what
                  happened and why. Not so far at Fox … In the four months since its
                  retraction, Fox News has not apologized for what it reported. Nor has it
                  explained what went wrong”;

           ●      “Lesson No. 1: Investigative reports should be ironclad” – the “Fox
                  story revived conspiracy theories that whipped through more extreme
                  conservative media outlets that sought to discredit growing suspicions the
                  Russians were behind the hack of the DNC”;

           ●      “Lesson No. 2: Make sure your sources are saying what you think
                  they're saying” – “Before the story ran, Zimmerman sent Wheeler a draft
                  with quotes she intended to attribute to him. NPR has seen a transcript of
                  the texts from Zimmerman calling his attention to that email. But there’s
                  zero evidence Wheeler ever said those words or gave permission for her to
                  use them. And if Zimmerman did invent the quotes, that’s a big problem –
                  regardless of whether Wheeler gave her the green light”;




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            ●      Lesson No. 3: Make sure each of your sources can stand on its own” –
                   “A Dallas investment manager and Trump supporter named Ed Butowsky
                   helped to orchestrate the Fox News story … Butowsky fed tips to Wheeler
                   and Zimmerman, the Fox reporter, as he sought to link the dead man to the
                   leaked emails instead of hackers working on behalf of the Russians. It
                   was all part of an effort, as he confided to others in conversations captured
                   on tape and emails, to defend President Trump, whose ties to the Russians
                   are under federal investigation … In a three-way taped conversation that
                   took place a few hours after the Rich story ran, Butowsky and Zimmerman
                   conceded Wheeler had never said what her story claimed”;

            ●      “And that leads us to lesson No. 4” – Transparency and Trust - “Fox
                   withheld Butowsky’s various roles in the story from its audiences — he
                   blurred lines between benefactor, source, player and, possibly, even
                   reporter”.

                                     SEPTEMBER 19, 2017

                “Fox News Fights Back On Lawsuit Filed Over Seth Rich Story”
      https://www.npr.org/2017/09/19/552133180/fox-news-fights-back-on-lawsuit-filed-over-
                                        seth-rich-story

            ●      Butowsky “is a Dallas investment manager and supporter of President
                   Trump’s who worked behind the scenes to try to link Rich to the leak of
                   the Democratic emails as a way of deflecting criticism of the president”.

                                  MARCH 13-14, 2018 – Twitter1
                 https://twitter.com/davidfolkenflik/status/973773671121682432

            ●      “My story on Ed Butowsky, the Dallas investor and Trump backer who
                   arranged for investigator Rod Wheeler to work on Rich family's behalf –
                   but reporting secretly to him”.

            ●      “Ed Butowsky is the money manager who played a key role in a since-
                   retracted Fox News expose about the murder of a young Democratic
                   Party aide”.

            ●      “My story on Fox’s reaction to the Seth Rich story – no apology, no
                   explanation, no known punishments. Zimmerman remains at network”.




            1
                    On March 13-14, 2018 – over seven (7) months after the original
     publications – Folkenflik and NPR republished three of the online articles to a new target
     audience – Folkenflik’s followers on Twitter.


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             6.     Rather than report on a lawsuit, in his articles and tweets Folkenflik chose

     to attack and personally and professionally disparage Butowsky, repeatedly highlighting

     the fact that Butowsky was a “wealthy Dallas investor”, an “investment advisor”,

     “financial talking head”, “money manager”, “Dallas investment manager”, and “Dallas

     investor”, who lied and engaged in dishonest, deceitful, fraudulent, fake and unethical

     business practices.   The qualities disparaged by Folkenflik – Butowsky’s veracity,

     honesty, integrity and ethics – are peculiarly valuable to Butowsky and necessary in his

     business or profession as a registered investment advisor.2 Folkenflik’s false statements

     ascribe to Butowsky conduct, characteristics and conditions that would adversely affect

     his fitness for the proper conduct of his money management business and profession as a

     registered investment advisor.    Folkenflik’s false and defamatory statements injured

     Butowsky in his office, profession and occupation as a “Dallas investment manager”,

     causing Butowsky to lose clients, lose standing in his profession, and causing a

     substantial disruption in Butowsky’s daily routine and a high degree of mental pain and

     distress.

             7.     Folkenflik and NPR acted with actual malice and reckless disregard for

     the truth. Hungry to publish a scandalous story about the President of the United States

     and Fox and to aid and abet Wigdor’s effort to extort money from Fox, Folkenflik failed

     to verify the information Wigdor secretly provided before releasing it on NPR.org, to

     NPR’s radio listeners via Morning Edition, and to millions upon millions via Twitter. In

     spite of serious doubts as to the veracity of his source, Folkenflik blindly accepted



             2
                   As a registered investment advisor, Butowsky is required to abide by a
     written code of ethics that, inter alia, includes standards of business conduct. [17 C.F.R.
     § 275.204A-1 Investment advisor code of ethics].


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     Wigdor’s false statements without ever once questioning Wigdor’s (and his client, Rod

     Wheeler’s), motive to lie. Folkenflik disregarded known sources of information that

     flatly contradicted the false narrative peddled by Wigdor. In promoting Wigdor’s story,

     Folkenflik misrepresented, distorted and oversimplified facts and issues.       Folkenflik

     failed to gather, update and correct information throughout the life of his story, allowing

     the false narrative to build momentum and take on a life of its own. Folkenflik engaged

     in baseless stereotyping and allowed his (and Wigdor’s) extreme bias to shape his

     reporting. Folkenflik published and republished the story in such a way and to such

     audiences and extremes as to maximize the insult, pain, humiliation and embarrassment to

     Ed Butowsky in both his personal and professional capacities. Folkenflik pandered to

     lurid curiosity about the President and fake news about “Russian collusion”, rather than

     tell the truth.

             8.        The United States Supreme Court recognizes that “The right of a man to

     the protection of his own reputation from unjustified invasion and wrongful hurt reflects

     no more than our basic concept of the essential dignity and worth of every human

     being—a concept at the root of any decent system of ordered liberty”. Rosenblatt v. Baer,

     383 U.S. 75, 92-93 (1966). This is not a case about the First Amendment or “freedom”

     of the press or a critique of NPR’s reporting on a lawsuit or a matter of public concern –

     for no man has the right to defame and disparage another.3          This is a case about

     Folkenflik and NPR’s actual malice and reckless disregard for the truth.




             3
                    The Supreme Court of the United States has recognized “[t]ime and again”
     that “false factual statements possess no First Amendment value.” United States v.
     Alvarez, 132 S.Ct. 2537, 2560 (2012). Thus, any attempt by Folkenflik and NPR to hide
     behind the “First Amendment” is unavailing.


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                                          II. PARTIES

              9.    Plaintiff, Ed Butowsky (“Butowsky”), is a citizen of Texas. Butowsky is

      55 years-old. He resides with his family in Plano, Texas. He has a long history of

      generously helping people in need. Butowsky is an internationally recognized expert in

      the investment wealth management industry. He has been in the financial services

      industry for over twenty-nine (29) years. He started his career with Morgan Stanley,

      where he was a Senior Vice President in private wealth management. In his eighteen (18)

      years with Morgan Stanley, Butowsky was the firm’s top producer nationally as well as

      the first advisor to surpass one billion dollars in assets under management. He was

      recognized as a member of both the Chairman’s Club and the Equity Club at Morgan

      Stanley, a distinction reserved for only the firm’s top advisors. In 2005, Butowsky

      launched Chapwood Investments, LLC, an Addison, Texas-based, private wealth

      management advisory firm focused on providing comprehensive financial counseling and

      investment advice to wealthy families and individuals.       He was nominated as Top

      Financial Advisor in the World by Reuters in 2007. Through his work with professional

      athletes, Butowsky was prominently featured in both the ESPN Movie, Broke

      [https://www.youtube.com/watch?v=1IhmiE_Hs0I],        and     the      blockbuster    Sports

      Illustrated    article,    “How       (and     Why)         Athletes       Go        Broke”.

      [https://www.si.com/vault/2009/03/23/105789480/how-and-why-athletes-go-broke].

              10.   Prior to Folkenflik and Wigdor’s publications and republications,

      Butowsky was a frequent guest on CNN, ABC, CBS, NBC, CNBC, Fox Business News,

      FOX News Channel, Bloomberg TV, and China TV. Butowsky had made hundreds of

      appearances on national television, and was often seen on “Varney and Co”, “Closing




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      Bell”, “Street Signs”, “Your World w/ Cavuto”, “America Live” with Megyn Kelly,

      “Willis Report”, “America’s News HQ”, “Taking Stock” with Pimm Fox, TheBlaze TV

      with Glenn Beck, and “Wilkow!” with Andrew Wilkow. He was also regularly heard on

      radio shows around the country such as “Mad Dog Radio” and “Bloomberg Radio”,

      discussing wealth management, and other subjects that are of interest and timely related

      to the finance/investments world.

             11.     Prior to Folkenflik and Wigdor’s global smear campaign, Butowsky

      enjoyed an untarnished personal and professional reputation in the community in which

      he lived and worked, with clients, with colleagues in business, and with his many friends.

      As was known and intended, Folkenflik’s defamation spread like wildfire throughout

      mass media, social media and over the Internet, causing Butowsky to be ostracized,

      causing enormous loss of business (including, without limitation, the termination and loss

      of Chapwood’s Investment Manager Service Agreement with Charles Schwab and loss of

      clients),4 and causing Butowsky substantial personal injury, fear, and mental and physical



             4
                     The loss and damage caused to Butowsky’s reputation by Folkenflik’s
      defamation is evidenced by the following email received from one of Butowsky’s high
      net worth clients:




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      pain and suffering. Butowsky has received death threats to his family, damage to his

      home in Plano, and thousands of ad hominem attacks.

             12.     Defendant, Folkenflik, is a citizen of New York, who lives in New York

      City. Folkenflik is a media correspondent on NPR’s Business Desk. The vast majority

      of Folkenflik’s reporting involves Fox and stories about sexual harassment, sexual

      misconduct and related issues. At all times relevant to this action, Folkenflik was an

      employee of Defendant, NPR, Inc., acting within the scope of his employment.

      [https://www.npr.org/people/4459112/david-folkenflik].

             13.    Defendant, NPR, is a District of Columbia non-stock corporation with

      headquarters and principal places of business in Washington, D.C., California and New

      York. NPR describes itself as a “mission-driven, multimedia news organization and

      radio program producer.” NPR produces news, talk, music and entertainment programs.

      NPR also distributes programs produced by member stations and independent producers

      under the NPR brand. NPR claims that it “sets the standard for trusted editorial content”.

      NPR transacts substantial business in Texas. It maintains and operates multiple domestic

      bureaus in Texas and at least thirty-five-member stations in Texas. NPR.org is one of

      NPR’s digital properties. NPR.org is an online publication that is owned and operated,

      upon     information     and     belief,      by     NPR.      [https://www.npr.org/about-

      npr/192827079/overview-and-history;        https://www.npr.org/stations/pdf/nprstations.pdf;



      Fortunately, Chapwood was able to persuade the client to stay on as a customer with a
      different financial advisor. Nonetheless, Chapwood lost millions of dollars in
      investments from this customer and Plaintiff lost income as a direct result. Further,
      Plaintiff’s reputation as a registered investment advisor has been destroyed. He is unable
      to develop new business. He has lost the ability to get referrals from Major League
      Baseball, NBA, etc. He can’t even tell people his last name without hesitating, since he
      knows they will Google him and see all the fake stories.


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      https://www.npr.org/about/press/NPR_Fact_Sheet.pdf].             NPR receives federal grants

      from    the   Corporation     for     Public   Broadcasting     and   other   federal   agencies.

      [https://www.npr.org/about/annualreports/2017_Annual_Report.pdf].               In 2017, NPR

      received approximately $2,000,000 in federal funding. NPR accepts public funding on

      the condition that it will publish truthful, honest and unbiased articles and statements, and

      that the federal funds it receives will not be used for political purposes or to promote the

      private agendas of third-parties, like Wigdor.

              14.    Defendants, Chapin, Cook and Gogoi, are individual officers, editors,

      producers and publishers employed by NPR who, together with Folkenflik, created,

      contributed, edited, published, instigated, directed and ratified the defamation at issue in

      this action. A general description of each individual Defendant’s position at NPR is

      published online [see https://www.npr.org/series/6000/people-at-npr?typeId=1] and on

      their   respective   public         profiles   published   on    LinkedIn.com.      [See,   e.g.,

      https://www.linkedin.com/in/edith-chapin-8911b95/]. Chapin is the Executive Editor of

      NPR News, charged with overseeing all desks and reporters and setting the agenda for

      the entire News division. Cook is a senior business editor on NPR’s Business Desk. In

      this role, he assigns and edits NPR business reporters, including Folkenflik, and

      collaborates with show producers and editors on host interviews. Gogoi is the Senior

      Business Editor for NPR’s Business Desk.              The individual NPR officers, editors,

      producers and publishers are citizens of the District of Columbia and New York,

      respectively. None of the individual NPR Defendants is a citizen of Texas.

              15.    NPR’s reach and engagement is extensive: On air, NPR reaches 30.2

      million weekly listeners through more than 1,000 public radio stations. Online, NPR.org




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      attracts     a    growing    audience    of   36.9    million   unique     monthly     users.

      [http://nationalpublicmedia.com/npr/audience/].

                 16.    Wigdor lives in New York. He is a partner of Wigdor, LLP. Wigdor,

      LLP is a public relations firm that masquerades as a law firm. Although Wigdor is an

      attorney, the clear majority of his time is spent in front of cameras or giving interviews to

      MSNBC, CNBC, CNN, the New York Times, Bloomberg Businessweek, and many other

      main stream media outlets, in which Wigdor promotes himself and his causes, especially

      his “crusade” against Fox. Wigdor’s war against Fox is featured front and center on

      Wigdor’s website and on his YouTube channel – “Wigdor LLP – Employment Lawyer

      NYC” – where he collects and publishes sound bites and personal praise.

      [https://www.youtube.com/channel/UCeogDStcI35nkzCJYNatVBQ].

                 17.    Wigdor claims to be a specialist in sexual harassment and assault cases.

      His website, inter alia, notes that he has represented “over 20 employees at Fox News in

      their claims of gender discrimination, race discrimination, retaliation and defamation

      against the network”.       [https://www.wigdorlaw.com/portfolio/douglas-h-wigdor/].      In

      2017, as part of the “Publicity” he has created for himself, Wigdor’s website represented

      that:

                 “Mr. Wigdor currently represents thirteen clients who have alleged racial
                 discrimination against Fox. Mr. Wigdor also represents Rod Wheeler, a Fox
                 contributor in an ‘explosive’ lawsuit alleging defamation in connection with a
                 story published about murdered DNC staffer Seth Rich, Scottie Nell Hughes, a
                 former Fox contributor in a lawsuit alleging retaliation after she complained of
                 sexual assault by Fox Business host Charles Payne, and Lydia Curanaj, a Fox5
                 reporter in a lawsuit alleging gender and pregnancy discrimination against Fox
                 News. The lawsuits join a succession of sexual harassment allegations made
                 against Fox, and have been extensively reported on by both national and
                 international media and referred to as a ‘Normandy like’ legal assault.”

      [Id.].



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             18.     Wigdor uses the press and social media as weapons. He brazenly litigates

      his causes outside the courtroom in the “court of public opinion” as part of a “press

      strategy” to intimidate and coerce settlements. As so happened in this case, Wigdor often

      grants in-depth access to a single reporter from a prominent news outlet, on the condition

      that the story be embargoed until the day a suit is filed, when it can be set off like a

      firecracker.

             19.     This action involves a collusive arrangement and conspiracy between

      Folkenflik and Wigdor to publish and republish false and defamatory statements about

      Butowsky as part of Wigdor’s effort to extort Fox. Wigdor selected Folkenflik and

      deliberately leaked a false narrative to Folkenflik because Wigdor knew that Folkenflik

      harbored bias and animus towards Fox and its Chairman, Rupert Murdoch. Widgor

      correctly surmised that Folkenflik would never question or doubt Wigdor’s veracity.5

      Folkenflik gladly accepted the “scoop” from Wigdor and published fake news with

      reckless indifference to the consequences of his actions as a “journalist”.

                                III. JURISDICTION AND VENUE

             20.     The United States District Court for the Eastern District of Texas has

      subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 (Diversity

      Jurisdiction) and 28 U.S.C. § 1367 (Supplemental Jurisdiction). The parties are citizens

      of different States and the amount in controversy exceeds the sum or value of $75,000,

      exclusive of interest, costs and fees.


             5
                    The selection of Folkenflik for leaking the false and defamatory
      statements was no coincidence. Wigdor knew that Folkenflik had been a vocal critic of
      Fox News for years, even writing a book about the network and its Chairman, Rupert
      Murdoch, entitled, “Murdoch's World: The Last of the Old Media Empires.”
      [https://www.npr.org/2013/10/21/238899506/inside-murdochs-world-a-peek-into-a-
      media-empire].


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             21.     The Defendants are subject to general and specific personal jurisdiction in

      Texas. They transact substantial business in Texas and committed multiple acts of

      defamation and intentional torts, in whole or part, in Texas.         They have minimum

      contacts with Texas such that the exercise of personal jurisdiction over them comports

      with traditional notions of fair play and substantial justice and is consistent with the Due

      Process clause of the United States Constitution.            Defendants’ defamation was

      purposefully directed at Texas and was continuous and systematic. Butowsky’s claims

      directly arise from and relate to Defendants’ publication of false and defamatory

      statements in Texas. TV Azteca v. Ruiz, 490 S.W.3d 29 (Tex. 2016) (citing Keeton v.

      Hustler Magazine, Inc., 465 U.S. 770 (1984) and Calder v. Jones, 465 U.S. 783 (1984)).

             22.     Venue is proper in the Sherman Division of the United States District

      Court for the Eastern District of Texas because Folkenflik and NPR and their agents

      published and republished defamatory statements to a wide audience that includes

      persons who reside within the Sherman Division. Folkenflik and NPR’s defamation

      caused substantial harm to Butowsky’s personal and professional reputations in Texas. A

      substantial part of the events giving rise to the claims stated in this action occurred in the

      Eastern District of Texas.

                           IV. STATEMENT OF MATERIAL FACTS

             23.     At all times relevant to this action, Folkenflik had actual knowledge that

      his written and oral statements about Butowsky were false. He knew Butowsky did not

      orchestrate and/or promote any “fake news story”. He knew Butowsky did not collude

      with the President of the United States or with Fox to publish “fake news”. Indeed, at the




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      time he published his false statements, Folkenflik had not seen any evidence that the

      President even knew Butowsky.

             24.    In his reporting, Folkenflik deliberately misrepresented and concealed

      known facts, including the fact (a) that Fox reporter, Malia Zimmerman (“Zimmerman”)

      had shared drafts of her article with Rod Wheeler (“Wheeler”) on May 15, 2017, and (b)

      Wheeler had approved the exact quotations that appeared in Zimmerman’s article.

             25.    Before he published his first online article on August 1, 2017 at 7:23 a.m.,

      Folkenflik possessed information that should have caused him to disbelieve the

      preconceived false narrative supplied to him by Wigdor.

             26.    The truth was well-known to Folkenflik – not only from Wheeler’s text

      messages and emails (described in detail below) in Folkenflik’s possession, but from

      public records (videos in which Wheeler and others, including Seymour Hersh,6

      appeared) and from other information and recordings available to Folkenflik on the

      Internet (all described in detail below). The true facts were also available to Folkenflik

      on and through the website, http://www.debunkingrodwheelersclaims.com/ (now

      http://debunkingrodwheelersclaims.net/). Although Wigdor told Folkenflik that Fox and

      Butowsky had fabricated quotations that Fox and Butowsky then falsely attributed to

      Wheeler, Folkenflik knew (a) that Wheeler had made the statements publicly on camera

      on May 15, 2017 to Fox 5 DC correspondent, Marina Marraco (“Marraco”), (b) that



             6
                      Seymour Hersh (“Hersh”) is a well-known journalist. Hersh first came to
      national prominence in 1969, when he helped expose the massacre of Vietnamese
      civilians in the village of My Lai. More recently, Hersh revealed the U.S. military’s
      torture of Iraqi prisoners at Abu Ghraib prison in 2004. In 2014, Hersh debunked
      Western propaganda that sought to justify a major U.S. military attack on Syria.
      [http://samadamsaward.ch/seymour-hersh/]. In 2017, Hersh supplied key information to
      Zimmerman concerning Seth Rich and WikiLeaks. [See below].


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      Wheeler had confirmed the quotations three (3) times to Zimmerman on May 15, 2017 in

      emails and text messages, (c) that Wheeler had affirmed the substance of the quotations

      in interviews with Sean Hannity and Lou Dobbs on May 16, 2017, and (d) that Wheeler

      had actually told FetchYourNews on May 22, 2017 that Zimmerman’s story was

      “essentially correct”. (Emphasis added). Based upon information in his possession,

      Folkenflik knew that his statements about Butowsky were categorically false.

             27.     Instead of reporting the truth, Folkenflik abandoned his ethics and

      journalistic standards. and went with a preconceived story – a story manufactured and

      supplied to him by his source – Wigdor – a source that was admittedly on a “crusade” to

      get Fox. Folkenflik abandoned all journalistic integrity. He failed to investigate the true

      facts. He relied on inherently unreliable and debunked sources, such as Wigdor’s client

      and source, Wheeler. Folkenflik departed from journalistic standards and repeated words

      and phrases that he knew were false or inherently improbable – phrases such as “Russian

      collusion”. Folkenflik abandoned common sense. The suggestion that the President of

      the United States and/or the “Russians” (Vladimir Putin) colluded with Butowsky – a

      person unknown to either the President or Putin and with whom neither the President nor

      Putin has ever communicated – is preposterous.

             28.     Folkenflik knew that Wigdor’s preconceived narrative was false.

      Folkenflik, who hated Fox and craved the notoriety of salacious “breaking news”, had a

      motive to publish a false narrative about Fox. In spite of known and obvious reasons to

      doubt the veracity of Wigdor and Wheeler, Folkenflik and NPR proceeded with the

      preconceived story without verification and without hesitation.




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      A.     THE PRECONCEIVED FALSE NARRATIVE

             29.       As of June 2017, Wigdor had filed and/or had threatened to file numerous

      lawsuits against Fox, including, without limitation,

             ●         Ujkic v. Twenty-First Century Fox, Inc. et al., Case 1:16-cv-09608
                       (filed 12/13/2016);

             ●         Brown et al. v. Twenty-First Century Fox, Inc. et al., Case 22446/2017E
                       (filed 03/28/2017);

             ●         Blanco v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03017
                       (filed 04/25/-2017);

             ●         Lee v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03835
                       (filed 05/22/2017)

             ●         Farrow v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-03836
                       (filed 05/22/2017)

             ●         Hughes v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-07093
                       (filed 09/18/2017)

             ●         Gollohor v. Twenty-First Century Fox, Inc. et al., Case 1:17-cv-08232
                       (filed 10/25/2017)

      (the “Wigdor Discrimination Suits”).

             30.       Prior to June 23, 2017, in anticipation of a mediation of the Wigdor

      Discrimination Lawsuits, Wigdor prepared a draft of a complaint against Fox,

      Zimmerman and Butowsky.

             31.       Wigdor intentionally included in the draft document salacious, scandalous

      and impertinent allegations about the President, “fake news”, and Russian collusion.

      Wigdor drafted the pleading solely for its shock effect. Wigdor intended to use the draft

      document to extort a global settlement of the Wigdor Discrimination Suits from Fox at

      the mediation.




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             32.    The draft document included the false statement stated that Zimmerman,

      “with knowledge and support of Butowsky, fabricated two quotations and attributed them

      to Mr. Wheeler:

             ●      ‘My investigation up to this point shows there was some degree of email
                    exchange between Seth Rich and Wikileaks,’ said Wheeler.’

             ●      ‘My investigation shows someone within the DC government, Democratic
                    National Committee or Clinton team is blocking the murder investigation
                    from going forward,’ Wheeler said. ‘That is unfortunate. Seth Rich’s
                    murder is unsolved as a result of that.’”

             33.    The draft document made multiple additional false and defamatory

      statements of fact of and concerning Butowsky, including:

             ●      Butowsky said the statements were falsely attributed to Wheeler because
                    “that is the way the President wanted the article”.

             ●      Zimmerman, Butowsky and Fox had created fake news to advance
                    President Trump’s agenda.

             ●      Butowsky and Zimmerman were not simply Good Samaritans attempting
                    to solve a murder.7 Rather, they were interested in advancing a political
                    agenda for the Trump Administration.

             ●      Specifically, it was Butowsky and Zimmerman’s aim to have Wheeler
                    confirm that: (i) Seth Rich was responsible for the leak of DNC emails to
                    WikiLeaks; and (ii) Seth Rich was murdered by a Democrat operative
                    because he leaked the emails to WikiLeaks.




             7
                     Butowsky was not trying to solve the murder of Seth Rich. The Rich
      family engaged Wheeler – not Butowsky or Fox – to help solve the murder. Wheeler is
      the one who investigated the matter and came up with the theory that Seth Rich’s murder
      was not the result of a botched robbery. In one of his texts to Zimmerman, Wheeler
      stated that “I’m ready to say that Seths Death was not a botched robbery and there
      appears to be a coverup within the D.C. Govt related to his death”. These are
      Wheeler’s words. Wheeler is the one who told Fox 5 DC reporter, Marina Marraco, on
      camera on May 15, 2017 that he had sources at the FBI who said there is information that
      could link Seth Rich to WikiLeaks. “Absolutely, yeah, and that’s confirmed”. These
      are Wheeler’s own words.


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             ●      Butowsky and Zimmerman were not in this alone. Rather, they colluded
                    with Sean Spicer, Steve Bannon8 and Sarah Flores to shift the blame for
                    the DNC hacks from the Russians to Seth Rich in order to undermine
                    reports of collusion between Russia and the Trump Administration.

             ●      President Trump wanted Zimmerman’s article published to help lift the
                    cloud of the Russia investigation.

             ●      Simultaneous with baseless claims of nonpartisanship to British
                    regulators, Fox was contriving with Butowsky and members of the Trump
                    Administration to publish and disseminate fake news to affect politics in
                    America.

             ●      Because of Fox and Butowsky’s “devious scheming” British regulators
                    have yet to provide a green light to Fox for the Sky takeover bid, and
                    many U.K. politicians question whether Fox is capable of news
                    dissemination in a fair and neutral manner.

             ●      In falsely quoting Wheeler, Butowsky and Zimmerman attempted –
                    through the publication of fake news – to accomplish what they had set
                    out to do from the start: “solve the problem about Russians are the ones
                    that gave the emails” and establish that “there was no collusion like trump
                    with the Russians.”

             ●      Butowsky planned to extort Seymour Hersh in an effort to save the May
                    16, 2017 Seth Rich story.

             ●      Wheeler had to backtrack on his statements to Zimmerman because he
                    never made the statements to begin with.

             34.    During the last week of July 2017 – after Fox refused to accede to

      Wigdor’s outrageous demands and the mediation failed – Wigdor secretly met with

      Folkenflik to discuss publication of the scandalous false narrative about Butowsky.

             35.    Prior to commencement of any judicial proceeding, Folkenflik agreed to

      act in concert with Wigdor and to serve as Wigdor’s firecracker to publish the false




             8
                  Butowsky has not spoken with Steve Bannon in over three (3) years.
      Wigdor and Wheeler simply made this up to further their false narrative that the White
      House and the President were involved. Folkenflik never bothered to interview
      Bannon.


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      narrative about Butowsky online and via Twitter. Folkenflik agreed to put the entire

      weight of the “National Public Radio” behind Wigdor false statements.

             36.    In the days prior to August 1, 2017, Folkenflik wrote his first story about

      Butowsky (the August 1, 2017 article above). After writing the story, Folkenflik called

      Butowsky. Butowsky was at the dentist sitting in a chair about to be put under to have

      his wisdom teeth removed. Butowsky got up from the dentist’s chair, went to hallway

      and called Folkenflik. Butowsky asked Folkenflik how long he had been working on the

      story. Folkenflik replied, “about 4 to 5 days.” Butowsky was aware of the tactic of some

      reporters to build up a story and then just simply asked for a comment. That is what

      Folkenflik was doing: ambushing Butowsky. Butowsky informed Folkenflik that none of

      the accusations about collusion or about Butowsky’s involvement in and with the fake

      news being peddled by Folkenflik and Wigdor was true. Butowsky told Folkenflik that

      he had never met the President; that he did not create or promote any fake stories; that

      everything Folkenflik had been told by Wigdor was a lie; and Butowsky could prove it.

      Butowsky sent Folkenflik proof that Wheeler wrote the quotes himself. Folkenflik

      ignored everything Butowsky said and everything Butowsky sent him. Folkenflik had no

      interest in the truth. Days later, Folkenflik call Butowsky again and said he was doing a

      “follow up” story. Once again, Folkenflik did not listen to a thing Butowsky said. Once

      again, as was the case with the first call, Folkenflik had already made up his mind about

      what he was writing before even talking to Butowsky.

      B.     FOLKENFLIK PUBLISHED THE PRECONCEIVED FALSE NARRATIVE

             37.    At 7:23 a.m. on August 1, 2017 – before any courts were open –

      Folkenflik published his first online article about Butowsky, “Behind Fox News' Baseless




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      Seth Rich Story: The Untold Tale”. [https://www.npr.org/2017/08/01/540783715/lawsuit-

      alleges-fox-news-and-trump-supporter-created-fake-news-story (the “First Folkenflik

      Article”)]. The First Folkenflik Article appears on NPR.org as follows:




             38.       Folkenflik’s August 1, 2017 Article makes and republishes a number of

      false and defamatory statements about Butowsky, including:

             ●         Fox News’ May 16, 2017 story, entitled “Seth Rich, slain DNC staffer,

      had contact with WikiLeaks, say multiple sources”, was “baseless”;

             ●         Fox and Butowsky “worked in concert under the watchful eye of the

      White House to concoct a story” about the death of Seth Rich;

             ●         The Fox News story was a “fake news story”;

             ●         The Fox News story was a “deceptive story”;

             ●         Wheeler did “not make great headway” in his investigation of the murder

      of Seth Rich.9




             9
                      In making this statement, Folkenflik intentional and recklessly disregarded
      Wheeler’s texts to Butowsky and Zimmerman. Folkenflik knew that Wheeler claimed he
      had, in fact, made great headway in his murder investigation. Wheeler expressly
      represented that it was not a botched robbery, that there was a “cover-up” in the DC
      Government, and that the Democratic National Committee (the “DNC”) and Aaron Rich,
      in fact, were blocking the investigation.



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             ●      “The FBI informs Butowsky,10 Wheeler and Zimmerman that the agency

      is not assisting the Washington, D.C., police on the investigation – undercutting claims

      about an FBI report.”

             ●      On May 11, 2017, Fox News reporter, Malia Zimmerman, “sends Wheeler

      a draft of her story … It includes no quotes from Wheeler”;11

             ●      “Zimmerman’s online story … cites Wheeler, incorporating two key

      quotations from Wheeler that do not appear on video. In each, the private investigator

      seemingly takes ownership of the accusations”;

             ●      “Despite his misgivings,12 Wheeler plays along” with the fake news

      promoted by Butowsky and Zimmerman.




             10
                       Folkenflik knew that the FBI did not inform Butowsky that the agency
      was not assisting the DC police. Folkenflik also knew from an audio recording published
      on July 11, 2017 that there was an FBI Report and that the FBI Report confirmed that
      Seth Rich made contact with WikiLeaks in the “late spring”, “early summer” of 2016,
      offered an extensive sample of emails from the DNC, and said “I want money”.
      [https://twitter.com/wikileaks/status/892510925244203008?lang=en      (Audio-tape    of
      statement from Seymour Hersh); https://www.youtube.com/watch?v=giuZdBAXVh0
      (Audio at 4:02)].
             11
                     This is a half-truth – a fraudulent misrepresentation of the facts.
      Folkenflik intentionally omitted the fact that Zimmerman sent Wheeler three (3) drafts of
      her story on May 15, 2017 – the day before the Fox News story ran – that contained the
      exact same quotations that Widgor and Wheeler would claim that Fox and Butowsky had
      made up out of whole cloth. In support of his preconceived storyline, Folkenflik chose to
      publish an Article that was laden with half-truths and intentionally misleading.

             12
                     Prior to and through publication of Zimmerman’s article on May 16, 2017,
      Wheeler expressed no “misgivings” at all and he did not “play along” with anything. In
      fact, he voluntarily offered Zimmerman quotations. Wheeler approved the quotations in
      writing. As was fully disclosed in and by public record available to Folkenflik, and,
      upon information and belief, reviewed by Folkenflik and/or his editors and publishers,
      Wheeler only back-tracked on his quotations after being threatened with litigation by the
      Rich family. Folkenflik intentionally misrepresented and distorted the truth in order to
      support the scandalous preconceived story about the President, Fox and Butowsky.


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             39.     In furtherance of the conspiracy and in support of the preconceived

      storyline, the First Folkenflik Article quoted and republished the following false and

      defamatory statement by Wigdor about “wealthy Dallas investor” Butowsky:




      C.     THE BREADTH OF PUBLICATION AND REPUBLICATION OF THE
             FALSE NARRATIVE IS LIKE NOTHING EVER SEEN BEFORE

             40.     The First Folkenflik Article was viewed by millions of subscribers to

      NPR.org. [See https://www.npr.org/about/press/NPR_Fact_Sheet.pdf (The total number

      of monthly unique visitors to NPR.org is 36.8 million. Monthly visits to NPR Digital

      Properties, including NPR.org and NPR apps exceeds 114.4 million)].

             41.     The First Folkenflik Article, including the false narrative and

      preconceived defamatory statements fed to Folkenflik by Wigdor, was republished over

      and over, hundreds of times, with no fact-checking whatsoever, by other main stream and

      alternative media outlets and online newspaper publishers. [See, e.g.,

             https://www.mediaite.com/online/fox-news-published-fabricated-quotes-in-seth-

      rich-conspiracy-according-to-lawsuit/;

             http://kut.org/post/behind-fox-news-baseless-seth-rich-story-untold-tale;

             http://www.wbur.org/npr/540783715/lawsuit-alleges-fox-news-and-trump-

      supporter-created-fake-news-story;

             http://keranews.org/post/behind-fox-news-baseless-seth-rich-story-untold-tale;

             https://ww2.kqed.org/forum/2017/08/02/lawsuit-claims-white-house-

      involvement-in-discredited-fox-news-story/;


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              http://boisestatepublicradio.org/post/lawsuit-alleges-fox-news-and-trump-

      supporter-created-fake-news-story#stream/0;

              https://www.opb.org/news/article/npr-behind-fox-news-baseless-seth-rich-story-

      the-untold-tale/;

              http://kzyx.org/post/behind-fox-news-baseless-seth-rich-story-untold-

      tale#stream/0;

              http://www.wvia.org/blogs/npr-news/lawsuit-alleges-fox-news-and-trump-

      supporter-created-fake-news-story/;

              http://www.cpr.org/news/npr-story/behind-fox-news-baseless-seth-rich-story-the-

      untold-tale;

              http://wglt.org/post/lawsuit-alleges-fox-news-and-trump-supporter-created-fake-

      news-story#stream/0;

              https://wfpl.org/behind-fox-news-baseless-seth-rich-story-the-untold-tale/;

              https://www.wmfe.org/behind-fox-news-baseless-seth-rich-story-the-untold-

      tale/76249;

              https://news.wbhm.org/npr_story_post/2017/behind-fox-news-baseless-seth-rich-

      story-the-untold-tale/;

              https://www.hollywoodreporter.com/thr-esq/fox-accused-lawsuit-publishing-

      fake-news-at-donald-trumps-behest-1025708;

              https://www.reddit.com/r/washingtondc/comments/6qw5z6/from_npr_behind_fox

      _news_baseless_seth_rich_story/?st=jc3nc6qp&sh=f8c35be4;

              https://newrepublic.com/article/144200/meet-reporter-driving-fox-newss-biggest-

      craziest-stories;




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              https://www.memeorandum.com/170801/p30#a170801p30;

             https://www.si.com/tech-media/2017/12/10/best-journalism-writing-reporting-

      2017-media-circus;

             http://es.redskins.com/topic/414681-npr-behind-fox-news-baseless-seth-rich-

      story-the-untold-tale/;

             https://thinklab.com/content/510254;

             https://muckrack.com/davidfolkenflik/articles;

             https://www.huffingtonpost.com/entry/fox-news-white-house-seth-

      rich_us_59809958e4b0d6e28a10cb6e;

             https://mediaequalizer.com/brian-maloney/2017/08/cnn-gleefully-exploits-

      bizarre-lawsuit-filed-against-fox-news;

             https://www.mediamatters.org/video/2017/08/01/CNNs-Brian-Stelter-explains-

      how-new-Seth-Rich-report-shows-the-connections-between-Fox-and/217471]. Mediaite

      called the Folkenflik article a “bombshell NPR report”:




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             42.     In addition to the online Article, NPR simultaneously broadcast and

      republished Folkenflik and Wigdor’s false and defamatory statements in a different

      format and to a new target – to NPR’s radio audience on Morning Edition.

             43.     The NPR radio broadcast was heard by millions of people across the

      Country. [See https://www.npr.org/about/press/NPR_Fact_Sheet.pdf (Weekly Listeners

      for all NPR Stations is 37.7 million. Weekly Listeners for NPR Programming and

      Newscasts is 30.2 million)].

      D.     FOLKENFLIK USED TWITTER TO AMPLIFY THE DEFAMATION

             44.     At the same time the First Folkenflik Article was published online and

      broadcast live on NPR Radio, Folkenflik republished the false and defamatory statements

      to yet another new target audience – his 75,100 followers on Twitter.

             45.     Folkenflik’s August 1, 2017 tweet states:



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             46.    Folkenflik’s tweet, with the attached Article, was retweeted 5,220 times

      and was liked 7,124 times on August 1, 2017 alone.

             47.    The First Folkenflik Article was republished on Twitter millions of times

      to Butowsky’s detriment. On August 1, 2017, prior to 12:00 p.m. Noon (EST) alone, the

      Article was tweeted (i.e. published) by the following persons and many others:

             ●      NPR Politics – 2,930,748 followers




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            ●    audie cornish (Host of NPR’s All Things Considered) – 120,241 followers

            ●    Donna Brazile – 657,492 followers

            ●    Muckmaker – 67,438 followers

            ●    Puppymnkey – 142,686 followers

            ●    Michael Weiss (Senior Editor for the Daily Beast) – 103,206 followers

            ●    Andy Kroll (Reporter for Mother Jones) – 16,921 followers

            ●    Zeke Miller (AP, BuzzFeed, Etc.) – 206,497 followers




                                            30
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             ●       Caroline O (Shareblue Media) – 311,000 followers.              “Caroline O”,

      writer/editor for anti-Trump “media” outlet, Shareblue Media,13 like most others,

      believed and repeated the false narrative peddled by Folkenflik and Wigdor:




             48.     One of the persons who republished (i.e., retweeted) Folkenflik’s tweet

      was Brian Stelter (“Stelter”), host of CNN’s @ReliableSources and senior media

      correspondent for CNN. Stelter had 552,000 followers on Twitter as of August 1, 2017.

      Stelter retweeted the First Folkenflik Article to his 552,000 followers, stating:


             13
                     Shareblue Media is a progressive news website owned by political activist,
      David Brock (“Brock”). Brock also operates Media Matters for America, an organization
      that publishes misinformation for the DNC.


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             49.    Donna Brazile – former Chair of the DNC – had 657,500 Twitter

      followers on August 1, 2017:




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      Ms. Brazile republished the First Folkenflik Article to her 657,500 followers, adding the

      following comments:




             50.     Brad Bauman (“Bauman”) – a consultant and spokesperson assigned to the

      Rich family by the DNC – republished the First Folkenflik Article to his 3,127 Twitter

      followers, feigning that the Article left him “speechless”:




                                                  33
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             51.    One of the broadest republications of the Folkenflik Article occurred when

      “Muckmaker” tweeted the Article to his 67,000 followers:




      Muckmaker republished the First Folkenflik Article multiple times on August 1, 2017,

      including the following:




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             52.    One of Muckmaker’s followers is Soledad O’Brien (“O’Brien”), the CEO

      of Starfish Media Group (“SMG”). SMG claims to be a multi-platform media production

      and distribution company, dedicated to uncovering and investigating empowering stories

      that look at the often-divisive issues of race, class, wealth, poverty, and opportunity

      through personal narratives. [https://www.starfishmediagroup.com/].      O’Brien had

      796,570 Twitter followers on August 1, 2017:




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      Within minutes of receiving Muckmaker’s tweet at 5:29 p.m., and without conducting

      any due diligence or fact-checking, O’Brien republished Muckmaker’s tweet, making

      specific mention of Butowsky’s “role” in the promotion of the “baseless” story:




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      O’Brien blindly accepted Folkenflik’s representations as if they were true. O’Brien’s

      reaction to Folkenflik’s false statements typifies the impact the false statements about

      Butowsky had on most readers.

             53.     On August 1, 2017, Widgor, acting in concert with Folkenflik, retweeted

      (republished) Folkenflik’s tweet and Stelter’s tweet to Wigdor’s 400 followers. Wigdor’s

      retweets were then retweeted and liked thousands of times, e.g.:




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             54.     In addition to Twitter, Wigdor republished the First Folkenflik Article to

      his   112    public   Facebook   followers.     [https://www.facebook.com/WigdorLaw/].

      Publication of the article made it accessible by all 2 Billion+ Facebook users. Wigdor’s

      Facebook posts were “liked” and “shared” by multiple third-parties.        Wigdor even

      thanked “Super Lawyers” for highlighting his cause and republishing his false and

      defamatory statements on Super Lawyers’ Facebook page:




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             55.    After August 1, 2017, Folkenflik gave further interviews in which he

      continued to push the false narrative and continued to attack Butowsky. Folkenflik told

      Mediaite columnist John Ziegler that “Butowsky’s narrative is ‘inconsistent’”. Without a

      shred of evidence, Folkenflik also falsely stated that “collaboration” between Butowsky

      and the President “is still a plausible assumption with the current evidence.”

      [https://www.mediaite.com/online/david-folkenflik-very-hard-to-rule-out-white-house-

      involvement-in-seth-rich-conspiracy/].

      E.     FOLKENFLIK AND NPR PUBLISHED MORE FALSE STATEMENTS

             56.    On August 7, 2017, Folkenflik and NPR published additional false and

      defamatory statements about Butowsky in an article/broadcast entitled:




      [https://www.npr.org/2017/08/07/542087047/fox-news-seth-rich-story-echoes-previous-

      problems-for-owner-rupert-murdoch (the “Second Folkenflik Article”)].

             57.    The Second Folkenflik Article/broadcast contained the following false

      statements:

             ●      “Revelations about Fox News’ role in concocting a baseless story on the

      death of a young Democratic staffer has problematic echoes for the network’s controlling

      owner, Rupert Murdoch”;

             ●      Fox was involved in a “journalistic scandal” over the Seth Rich story;



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             ●       Fox “concocted” the story “in order to help President Trump”.14

             58.     On August 16, 2017, Folkenflik, continuing to act in concert with Wigdor

      who was on a media blitzkrieg of his own, published a third online article with a

      photograph of Butowsky beneath the caption (the “Third Folkenflik Article”):




      [https://www.npr.org/2017/08/16/543830392/the-role-of-ed-butowsky-in-advancing-

      retracted-seth-rich-story].


             14
                      Read together with the First Folkenflik Article and the statements to
      Mediaite, the overall tenor and context of Folkenflik’s statements, the “gist”, was that
      Butowsky lied, was dishonest, aided, abetted and actively participated in a fraudulent
      journalistic scandal.



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             59.     The Third Folkenflik Article made specific reference to Butowsky’s status

      as an “investment advisor” and contained the following false statements:

             ●       Ed Butowsky was the “Man Behind The Scenes In Fox News’

      Discredited15 Seth Rich Story”;

             ●       “Butowsky displays no curiosity about the way Fox’s reporting and his

      activities affected the very people [the Rich Family] he says he sought to help.”

             60.     On August 16, 2017, Folkenflik republished the Third Folkenflik Article

      on Twitter. [see, e.g., https://twitter.com/davidfolkenflik/status/897959792714579968].

      Folkenflik’s tweet stated, “My deep dive on Ed Butowsky, the financial talking head who

      helped to propel Fox News’ discredited Seth Rich story”. Folkenflik added the following

      false statement beneath the picture of Butowsky, “Ed Butowsky is the money manager

      who played a key role in a since-retracted Fox News expose about the murder of a young

      Democratic Party aide”.

             61.     On September 15, 2017, Folkenflik and NPR published yet another article

      about Butowsky (the “Fourth Folkenflik Article”), entitled:




             15
                     In truth, the Fox News story has never been discredited, except because of
      Folkenflik’s false reporting and Wigdor and Wheeler’s baseless claims on television.
      The First Folkenflik s August 16 Article creates the false impression that Butowsky has
      no compassion, sympathy or understanding, indeed Folkenflik implies that Butowsky
      does not care whether his “activities” affected the Rich family. This imputes to
      Butowsky an ill-will and spite towards the Rich family that is patently false.



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      [https://www.npr.org/2017/09/15/551163406/fox-news-has-yet-to-explain-what-what-

      wrong-in-seth-rich-story].

             62.     The Fourth Folkenflik Article makes the following false statements:

             ●       “Fox News was compelled to retract the story,16 which involved

      presidential politics, international intrigue and a man’s murder. When a story of this

      scale crumbles, most news organizations feel obligated to explain what happened and

      why. Not so far at Fox … In the four months since its retraction, Fox News has not

      apologized for what it reported. Nor has it explained what went wrong”.

             ●       “Lesson No. 1: Investigative reports should be ironclad” – the “Fox

      story revived conspiracy theories that whipped through more extreme conservative media

      outlets that sought to discredit growing suspicions the Russians were behind the hack of

      the DNC”;

             ●       “Lesson No. 2: Make sure your sources are saying what you think

      they're saying” – “Before the story ran, Zimmerman sent Wheeler a draft with quotes

      she intended to attribute to him. NPR has seen a transcript of the texts from Zimmerman

      calling his attention to that email. But there’s zero evidence Wheeler ever said those

      words or gave permission17 for her to use them. And if Zimmerman did invent the

      quotes, that’s a big problem – regardless of whether Wheeler gave her the green light”;



             16
                     Fox was not “compelled” to retract the story. The story never
      “crumble[d]”. Nothing “went wrong”. These intentionally false statements typify
      Folkenflik’s unethical and misleading reports.

             17
                     The truth is that Wheeler read each of the three (3) drafts of Zimmerman’s
      articles that were emailed to him on May 15, 2017, and, in fact, he did approve the
      quotes. Zimmerman did not “invent” anything and did not “lead” Wheeler in any way.
      Folkenflik lied.



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             ●       Lesson No. 3: Make sure each of your sources can stand on its own” –

      “A Dallas investment manager and Trump supporter named Ed Butowsky helped to

      orchestrate the Fox News story … Butowsky fed tips18 to Wheeler and Zimmerman, the

      Fox reporter, as he sought to link the dead man to the leaked emails instead of hackers

      working on behalf of the Russians. It was all part of an effort, as he confided to others in

      conversations captured on tape and emails, to defend President Trump, whose ties to the

      Russians are under federal investigation … In a three-way taped conversation that took

      place a few hours after the Rich story ran, Butowsky and Zimmerman conceded Wheeler

      had never said what her story claimed”;

             ●       “And that leads us to lesson No. 4” – Transparency and Trust - “Fox

      withheld Butowsky’s various roles in the story from its audiences — he blurred lines

      between benefactor, source, player and, possibly, even reporter”.

             63.     On September 19, 2017, Folkenflik, continuing to act in concert with

      Wigdor to promote the false narrative, published yet another online article about

      Butowsky (the “Fifth Folkenflik Article”), in which Folkenflik repeated the false and

      defamatory statement that Butowsky “is a Dallas investment manager and supporter of

      President Trump’s who worked behind the scenes to try to link Rich to the leak of the

      Democratic    emails     as   a   way   of   deflecting   criticism   of   the   president”.

      [https://www.npr.org/2017/09/19/552133180/fox-news-fights-back-on-lawsuit-filed-

      over-seth-rich-story].

             64.     In March 2018, Folkenflik decided to republish the First Folkenflik

      Article, the Third Folkenflik Article and the Fourth Folkenflik Article on Twitter.


             18
                     These are categorically false statements for which Folkenflik had no
      evidentiary support.


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      [https://twitter.com/davidfolkenflik/status/973773671121682432].     Folkenflik’s tweets

      contained the following false and defamatory statements:

             ●       “My story on Ed Butowsky, the Dallas investor and Trump backer who

      arranged for investigator Rod Wheeler to work on Rich family's behalf – but reporting

      secretly to him”.

             ●       “Ed Butowsky is the money manager who played a key role in a since-

      retracted Fox News expose about the murder of a young Democratic Party aide”.

             ●       “My story on Fox’s reaction to the Seth Rich story – no apology, no

      explanation, no known punishments. Zimmerman remains at network”.

             65.     Folkenflik’s false and defamatory statements – in articles and via Twitter

      and on Facebook – published to millions and millions of people, caused substantial harm,

      actual damages and injury to Butowsky. Butowsky’s name and reputation have been

      globally impugned because of Folkenflik and NPR’s reckless conduct.

             66.     Through millions upon millions upon millions of publications and

      republications, tweets and retweets, posts, likes and shares, Butowsky has suffered

      egregious insult, shame, humiliation and embarrassment.

      F.     FOLKENFLIK AND NPR KNEW THEIR STATEMENTS WERE FALSE

             67.     This case involves the lowest form of “fake news” and the laziest and

      most unscrupulous and unethical journalistic practices exhibited in the new social media

      era.

             1.      Folkenflik Misrepresented Butowsky’s Involvement

             68.     Before he wrote his First Article, Folkenflik knew that Butowsky’s role

      and involvement in the investigation of Seth Rich’s murder was limited.




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                69.       Folkenflik misrepresented Butowsky’s role to make it appear that

      Butowsky – the wealthy Dallas investment advisor – orchestrated a deception on the

      American people, including his own advisory clients.

                70.       In early 2017, Butowsky contacted the family of Seth Rich to help the

      family investigate their son’s unsolved murder. Butowsky graciously offered to pay for a

      private        investigator.   [https://soundcloud.com/siriusxm-news-issues/ed-butowsky-seth-

      richs-death].19

                71.       On February 23, 2017, Butowsky contacted Wheeler via text message to

      see if Wheeler would be interested in investigating the murder. Butowsky did not know

      Wheeler, but had seen him on television.              Wheeler appeared to be a competent

      investigator.

                72.       Wheeler entered into a contract with the Rich family (specifically, with

      Aaron Rich, Joel Rich and Mary Rich) to investigate the murder of Seth Rich. As

      Wheeler stated to FetchYourNews on May 22, 2017:




      [https://fannin.fetchyournews.com/2017/05/22/detective-rod-wheeler-releases-statement-

      concerning-the-death-of-dnc-staffer-seth-rich/].



                19
                     Butowsky also donated $250 to Aaron Rich’s GoFundMe campaign to
      raise money, inter alia, to maintain and increase the reward for information leading to an
      arrest and conviction of Seth Rich’s killer. [https://www.gofundme.com/SethRich].


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             73.       Butowsky was not a party to the contract between Wheeler and the Rich

      family. He was not involved in any discussions between Wheeler and the Riches over the

      terms of a contract. He only agreed to pay for Wheeler’s services. Butowsky first saw

      the contract between Wheeler and the Riches in May 2017 months after it was signed.

             74.       Although Folkenflik made it appear that Butowsky orchestrated and

      directed Wheeler’s murder investigation, in truth Butowsky did not personally participate

      and was not directly involved in Wheeler’s investigation. He left the investigating to

      Wheeler.     Butowsky and Wheeler occasionally communicated about Wheeler’s

      investigation. Wheeler regularly updated Butowsky on his findings. Folkenflik knew

      that Butowsky’s involvement was limited.

             75.       Wheeler publicly confirmed Butowsky’s limited involvement in the

      investigation. On May 16, 2017, Wheeler represented to Sean Hannity that “I was hired

      by the family, Joel and Mary Rich. They signed the contract. Now, the financial benefit,

      if there were any financial benefit and by the way there wasn’t much, that was actually

      paid for by a third party [Butowsky] that I have had very little communication with

      at all, Sean”. [https://www.youtube.com/watch?v=CuRJDKEVxHY (emphasis added)].

             76.       Folkenflik misrepresented Butowsky’s actual involvement in Wheeler’s

      investigation.    Folkenflik made it appear as if Butowsky was at the center of the

      investigation, directing Wheeler, telling him what to do (and telling Fox what to report).

      In reality, Butowsky did not direct either Wheeler’s investigation or the Fox News

      reporting. Butowsky shared some tips that he received and asked for updates, but he

      never interviewed witnesses, prepared a single draft of any report or story, etc. Butowsky

      was not the puppet master that Folkenflik accused him of being.




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             77.    On March 1, 2017, Wheeler told Butowsky that he (Wheeler) had

      independently acquired some “dynamic information” from one of his sources, the “lead

      detective” on the Seth Rich murder case. Wheeler also claimed that he had learned and

      knew who was “blocking the [murder] investigation”. Wheeler texted Butowsky as

      follows:




      Wheeler told Butowsky that he was meeting with “2 inside contacts” on March 2, 2017.

             78.    On or before July 28, 2017, Wheeler’s texts were available to Folkenflik

      on the Internet and via Twitter. [http://www.debunkingrodwheelersclaims.com/;

      https://twitter.com/debunkrwheeler?lang=en]. The Twitter account, @debunkrwheeler,

      published the following tweet on July 28, 2017:




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             79.     On March 31, 2017, Wheeler appeared on Fox 5 DC. Wheeler uploaded

      and   published   the    interview   to   his        YouTube   channel   –   “Rod   Wheeler”

      [https://www.youtube.com/user/4apryl]. Wheeler called the video “Fox 5 DC Seth Rich

      Death Rod Interview”. [https://www.youtube.com/watch?v=D_nsLuFyb60].

             80.     Butowsky did not arrange the interview with Fox 5 DC. Butowsky did not

      provide a script or prompt Wheeler in any way.

             81.     In the interview, Wheeler claimed that he had been investigating the

      murder of Seth Rich over the “past three weeks”.

             “[T]here has been a lot of reward money that’s been offered for any information.
             No one has come forward. So here is the thing that is so important to realize
             whenever you have a lot of reward money, in this case it is over $125,000, and
             you don’t have anyone coming forward with information. Then what that tells
             you as an investigator is that maybe you need to start looking at another cause or
             another reason as to why this guy was killed and that’s what we’re doing now.
             We’re looking at uh possibly of course a street robbery, but it could, and I
             underline the word could, it could have been related, his death to his job, it could
             have been related to something else. what I don’t think it was related to
             though Allison is this Russian hacking thing.”

      (Emphasis added).       After the interviewer pointed out to Wheeler that people were

      “hinting at the fact that perhaps Seth Rich may have given some documents [to

      Wikileaks]”, Wheeler, voluntarily and of his own free will, stated as follows:

             “Well a lot of people have made that same observation and you have to ask
             yourself what is the motivation behind a person wanting to get involved and offer
             reward money, maybe he’s just a good guy and he has a lot of money laying
             around so this how he wants to spend his money, but you have to be careful
             though when you start throwing out these conspiracy theories, they actually don’t
             help the investigation at all … I haven’t found one shred of evidence at all that
             indicates that Seth’s death is the result of any Russian hacking or anything
             like that. I do think it’s possible and I underline the word possible that it could
             have been related to his job to some degree or relationships with the job, don’t
             know that for sure but for investigators we have to go down every path until we
             can determine who was responsible for his death”.

      (Emphasis added).



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             82.        Wheeler made the representations he did to Fox 5 DC because of his own

      independent investigation into the Seth Rich murder.

             2.         Folkenflik Misrepresented Wheeler’s Contacts With Zimmerman

             83.        Zimmerman is an award-winning investigative reporter employed by

      FoxNews.com. Her reports for Fox largely deal with crime, terrorism in the U.S. and

      overseas,    homeland      security,   illegal    immigration,   and   political   corruption.

      [http://www.foxnews.com/person/z/malia-zimmerman.html].

             84.        After he appeared on Fox 5 DC, Wheeler updated Zimmerman concerning

      his investigation.

             85.        In his reporting, Folkenflik downplayed and downright misrepresented the

      extent of the contact between Wheeler and Zimmerman. Folkenflik concealed the fact

      that Wheeler was actively and extensively in contact with Zimmerman.

             86.        Wheeler advised Zimmerman that he (Wheeler) was prepared to say that

      Rich’s murder was not the result of a “botched street robbery”. Wheeler further offered

      to Zimmerman that his investigation revealed a “coverup within the D.C. Govt” related to

      Rich’s death.20

             87.        Zimmerman, who knew Wheeler worked for the Rich family, asked

      Wheeler if the family was letting him talk. If Wheeler was “up to it”, Zimmerman

      expressed interest in doing a story on the murder investigation. Wheeler and Zimmerman

      exchanged the following text messages:




             20
                     On May 16, 2017, District of Columbia Mayor Muriel Bowser called
      allegations that the city’s police department is involved in a cover-up in the Seth Rich
      murder investigation “preposterous.” [http://dailycaller.com/2017/05/16/dc-mayor-says-
      allegations-of-cover-up-of-seth-rich-murder-are-preposterous/].


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             3.     Folkenflik Knew The President Was Not Involved In Any Way

             88.    On April 18, 2017, Butowsky sent Wheeler a text message, inquiring

      whether Wheeler would be in DC on Thursday, April 20.

             89.    Butowsky planned to meet with White House Press Secretary, Sean Spicer

      (“Spicer”).



                                              50
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              90.       Wheeler had been asking Butowsky nonstop to get him an interview, so he

      (Wheeler) could get a job in the White House.21 Butowsky asked Wheeler to put together

      a summary of his findings to date, and to bring the report with him to the meeting.

      Butowsky emailed Spicer, and asked for a 10-minute meeting, with no specified topic, to

      catch up. Butowsky informed Spicer that he would be bringing a Fox News contributor

      to the meeting.

              91.       The meeting with Spicer lasted 10-15 minutes. Most of the time was spent

      talking about shirts. Butowsky and Spicer bought their shirts from the same source:

      Jacomo Hakim’s Bookatailor. At the meeting, Butowsky and Wheeler, inter alia, told

      Spicer that they were working on a story about Seth Rich and wanted Spicer to be aware

      of it – that was it.

              92.       The President of the United States was not at the meeting and Spicer did

      not inform the President about the meeting.

              93.       Folkenflik had no evidence of any connection between Butowsky and the

      President because there was no connection. He knew his statements to Mediaite were

      absolutely false.




              21
                      See, e.g., https://www.youtube.com/watch?v=NaNhtlS2GxE (recording of
      phone call in which Wheeler expresses a desire to be employed by the White House)
      (“the President can appoint me as an administrator to the President … to specifically
      report to him and start taking a look at all of these cases. He can do it. Because someone
      needs to reign this stuff in and Trump is the person to do it … Whether you like Obama
      or not, for eight years I think this corruption has been allowed to manifest. Now we got a
      new President in there and they can’t be as corrupt as they used to be, and that’s messing
      with people’s minds.”).



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             94.       On July 31, 2017, Folkenflik interviewed Spicer. Spicer denied the claims

      that the President colluded with Butowsky and/or Fox.                 Spicer told Folkenflik the

      following:

             ●         “Ed’s been a longtime supporter of the president and asked to meet to
                       catch up:”;

             ●         “I didn't know who Rod Wheeler was. Once we got into my office,
                       [Butowsky] said, ‘I'm sure you recognize Rod Wheeler from Fox News’”;

             ●         Butowsky laid out what had been found about the case. “It had nothing to
                       do with advancing the president’s domestic agenda — and there was no
                       agenda. They were just informing me of the [Fox] story”;

             ●         Spicer was not aware of any contact, direct or not, between Butowsky and
                       Trump.

             4.        Folkenflik Knew Wheeler Had Interviewed Detective Dellacamera

             95.       Folkenflik knew that as part of the murder investigation, Wheeler was in

      direct contact with the “lead detective” – Joseph Dellacamera (“Detective Dellacamera”).

      Again, the fact of Wheeler’s extensive contact with Dellacamera and the information

      divulged to Wheeler by Dellacamera were both available on the Internet and well-known

      to Folkenflik.

             96.       Information that Wheeler obtained from Detective Dellacamera supported

      Wheeler’s belief and his public statements to Zimmerman and others that Seth Rich had

      been in contact with WikiLeaks and had sent emails to WikiLeaks.

             97.       On April 25, 2017, Wheeler interviewed Detective Dellacamera.

             98.       Wheeler’s     notes   of   the        interview,   published   on   the   website

      www.debunkingrodwheelersclaims.com, state:




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             5.     Folkenflik Disregarded Wheeler’s Public Statements to Marraco

             99.    Prior to publishing anything about Fox, Zimmerman or Butowsky,

      Folkenflik knew that Wheeler had publicly stated to Fox 5 DC that Seth Rich had been in

      email contact with WikiLeaks. Folkenflik knew that Fox 5 DC published an online story

      confirming the following facts obtained from Wheeler:




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      [http://www.fox5dc.com/news/local-news/private-investigator-there-is-evidence-seth-

      rich-contacted-wikileaks-prior-to-death].

             100.    Wheeler had a crush on Fox 5 DC correspondent, Marina Marraco.

      Wheeler called Marraco.

             101.    On May 15, 2017, Marraco interviewed Wheeler concerning his

      investigation of Seth Rich’s murder and his findings to date as part of a Fox 5 DC

      “exclusive”. [https://www.youtube.com/watch?v=x48PeHvTddc].

             102.    Butowsky had absolutely nothing to do with Wheeler’s decision to be

      interviewed by Marraco or the statements that Wheeler voluntarily made to Marraco

      based on Wheeler’s first-hand knowledge and investigation of the murder of Seth Rich.

             103.    On May 15, 2017, Wheeler made the following unqualified statements on

      camera to Marraco:

                     “MARINA MARROCO:              Today Fox 5 has learned there is new
             information that could prove these theorists right. New information from the
             family’s private investigator suggests there is tangible evidence on Seth Rich’s
             laptop that confirms he was communicating with Wikileaks prior to his death.
             Now the question is why has DC police as the lead agency on the investigation for
             the past 10 months insisted this was a botched robbery when until this day there is
             no evidence to suggest that. The Rich family hired Rod Wheeler a former MPD
             homicide detective to run a parallel investigation into their son’s death. Wheeler
             says he believes there is a cover up and the police department has been told to
             back down from the investigation.”

                     WHEELER:               Neither the police department nor the FBI have
             been forthcoming. They haven’t been cooperating at all. I believe that the answer
             to solving his death lies on that computer, which I believe is either at the police
             department or at the FBI. I’ve been told both.22

                    MARINA MARRACO:                But you have sources at the FBI saying
             that there is information …



             22
                       Actually, Wheeler had been told that Aaron Rich had the computer.
      [https://twitter.com/wikileaks/status/892494677823434753?lang=en].


                                                  55
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                       WHEELER:              For sure …

                       MARINA MARRACO:               That could link Seth Rich to Wikileaks?

                    WHEELER:                Absolutely, yeah, and that’s confirmed. Actually,
             I have a source in the police department that has looked at me straight in the eye
             and said ‘Rod we were told to stand down in this case and I can’t share any
             information with you’. Now that is highly unusual for a murder investigation,
             especially from a police department. Again, I don’t think it comes from the
             Chief’s office, but I do believe there is a correlation between the Mayor’s office
             and the DNC, and that’s the information that is going to come out tomorrow.”

      (Emphasis added).       When asked by a Fox 5 DC anchor whether there would be

      “evidence” to prove the statements made by Wheeler, Marraco stated as follows:

                     “MARINA MARRACO:          … Rod Wheeler, the investigator, assures us
             Fox 5 and assures Fox News that there’s a full report that contains information
             that will show how many times Seth Rich made contact with Wikileaks and will
             show exactly when this communication took place.”23

             104.      In his rush to publish a scandalous story, Folkenflik intentionally ignored

      Wheeler’s statements to Fox 5 DC and Marraco. Folkenflik never interviewed Marraco.

      In spite of evidence to the contrary, Folkenflik never doubted Wheeler and his handler,

      Wigdor.

             6.        Folkenflik Actually Knew That Fox Accurately Quoted Wheeler

             105.      Despite his actual knowledge that Fox accurately quoted Wheeler,

      Folkenflik intentionally misrepresented that Fox, in concert and with the support of

      Butowsky, had “concocted” a “fake news story” about the Seth Rich murder to support

      the President.




             23
                     In an audio recording published on YouTube on July 12, 2017, Wheeler
      claimed that Marraco had tricked him, that she took things out of context, that she did not
      “play” the whole tape of the interview, that he (Wheeler) did not know he was being
      recorded. [https://www.youtube.com/watch?v=2p8at6PD4L8].



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              106.    On May 15, 2017, Wheeler was in contact with Zimmerman multiple

      times about the article Zimmerman was writing.

              107.    Folkenflik had copies of all the email and text message communications

      between Wheeler and Zimmerman, which he obtained from Wigdor and which were also

      published and available on the Internet. [http://www.debunkingrodwheelersclaims.com/].

                      a.       The First Email

              108.    At 1:20 p.m. on May 15, 2017, Zimmerman emailed Wheeler a “current

      draft” of her article:




              109.    Wheeler received Zimmerman’s email.

              110.    Zimmerman’s May 15 “current draft” contained the following words:




              111.    Zimmerman’s May 15 “current draft” attributed the following quotes to

      Wheeler:




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             112.   Far from denying anything in the May 15 “current draft”, Wheeler offered

      Zimmerman further quotes, including the following:




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      In September 2019, after this lawsuit was filed, the FBI released emails showing internal

      discussions about the Seth Rich murder. The emails were redacted on the basis of

      “investigative technique”, suggesting the FBI had, in fact, conducted an investigation

      related to the murder of Seth Rich. This flatly contradicts the FBI’s representations to

      various Courts – including this one – that it never conducted any investigation into the

      murder. The emails appear to have been distributed among high-level officials in the

      FBI. They support Wheeler’s allegations of a high-level cover-up.

             113.     The quotes attributed to Wheeler in Zimmerman’s “current draft” were

      identical in substance to statements Wheeler had made in March to Butowsky; to

      statements Wheeler made in text messages to Zimmerman; and to statements made by

      Wheeler to Marraco and Fox 5 DC in May.

             114.     The quotes were also completely consistent with Wheeler’s notes of his

      interview with Detective Dellacamera.

             115.     Wheeler did not deny the quotes or object to anything Zimmerman had

      written in the “current draft”.

             116.     Wheeler did not inform Zimmerman that any of his quotes were

      inaccurate in any way.

             117.     If he had objected to anything Zimmerman wrote, Wheeler had a duty to

      be truthful. In good conscience, Wheeler should have informed Zimmerman of any

      inaccuracies.

             118.     Wheeler knew Zimmerman and Fox were relying on Wheeler to be

      truthful and honest.




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              119.    As an experienced journalist, Folkenflik knew that Wigdor and Wheeler

      were lying when they told Folkenflik that Fox fabricated the Wheeler quotes. Folkenflik

      chose to act out a lie and published Wigdor’s false narrative. After all, Wigdor had given

      Folkenflik and NPR the “exclusive”.

                      b.      The Second Email

              120.    At 3:59 p.m. on May 15, 2017, Zimmerman emailed Wheeler a revised

      draft of the article.

              121.    The subject line of Zimmerman’s 3:59 p.m. email expressly advised and

      instructed Wheeler to “please read carefully” (emphasis added):




              122.    The revised 3:59 p.m. draft of Zimmerman’s article made the following

      statement about Wheeler:




              123.    The revised 3:59 p.m. draft of Zimmerman’s article contained the

      following quotes attributed to Wheeler:




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             124.      After sending her email with the revised article, Zimmerman texted

      Wheeler via iMessage to confirm that he had received the revised article and that he

      could read it.

             125.      Wheeler confirmed that he had received Zimmerman’s email and that he

      had read the revised article.

             126.      Far from denying any quotes attributed to him in the revised article,

      WHEELER OFFERED ZIMMERMAN FURTHER QUOTATIONS!!!:




             127.      At no point in time did Wheeler ever deny making the statements quoted

      by Zimmerman. In fact, when Zimmerman asked Wheeler if she could use the quotes,

      Wheeler responded as follows:


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             128.    Wheeler never hesitated, never equivocated, never prevaricated, and never

      denied the quotes.

             129.    Wheeler never attempted to correct, amend, clarify, or retract the quotes.

             130.    Before he published his August 1, 2017 article on NPR.org, Folkenflik had

      irrefutable evidence that Wigdor was peddling a false narrative.

             131.    Acting in concert with Wigdor, Folkenflik disregarded serious doubts as to

      the veracity of Wheeler and republished a story that Folkenflik knew to be false.

      Folkenflik knew the fake news would immediately create massive publicity that would

      cast aspersion upon Butowsky and portray him in a false light. Folkenflik republished

      the false narrative because he had a deal with Wigdor.

                     c.     The Third Email

             132.    At 4:47 p.m. on May 15, 2017, Zimmerman sent Wheeler a third email

      that included the final draft of the article. Zimmerman’s email specifically advised

      Wheeler that the draft had been “turned in” to her editors:




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             133.    As Folkenflik well knew, this was Wheeler’s third and final chance to

      deny the quotes.

             134.    Wheeler made no attempt to stop the presses.

             135.    The final draft of Zimmerman’s article, emailed to Wheeler at 4:47 p.m.

      on May 15, 2017, contained the following quotes attributed to Wheeler:




             136.    Wheeler’s own text messages and emails (quoted verbatim above and

      available to Folkenflik prior to August 1, 2017), the notes of his interview with Detective

      Dellacamera, and Wheeler’s statements to Marraco on May 15, 2017 confirm that Fox

      accurately quoted Wheeler. Wheeler’s statements to Marraco bear repeating:

             “I believe that the answer to solving his death lies on that computer, which I
             believe is either at the police department or at the FBI.”

             137.    In addition to the emails and text message exchanges, Wheeler confirmed

      verbally to Zimmerman that the article accurately depicted his statements, and Wheeler

      expressed his support for the story. These statements occurred on conference calls

      several days leading up to publication of Zimmerman’s story, including telephone

      conversations on May 10, 2017 (10:30 am), May 11, 2017 (9:52 am and 10:12 am), and

      May 15, 2017 (11:22 am and 1:13 am).



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             138.   Wheeler also confirmed verbally to Butowsky that he had independently

      formed the belief, before publication of Zimmerman’s article, that there were email

      communications between Seth Rich and Wikileaks.

             139.   In his blind desire to publish a story disparaging of Fox, Folkenflik

      intentionally and maliciously disregarded the very record before him.

             7.     Folkenflik Disregarded Seymour Hersh’s Recorded Statement

             140.   In an audio recording published on July 11, 2017, Hersh provided the

      following statement:

             “What I know comes off an FBI Report … The kid [Seth Rich was] … a nice boy,
             twenty-seven. He was not an IT expert, but he learned stuff. He was a data
             programmer … Here’s what nobody knows … when you have a death like that,
             DC cops … have to get to the kid’s apartment and see what you can find … so
             they get a warrant … They go in the house and they can’t do much with his
             computer … They have a cyber unit in DC, and they’re more sophisticated. They
             come and look at it. The idea is that maybe he’s had a series of exchanges with
             somebody who’s said ‘I’m going to kill you, you motherfucker’ … and they can’t
             get in … So, they call the FBI cyber unit. The DC … Washington Field Office is
             a hot shit unit … There’s a cyber unit there that’s excellent … The Feds get
             through and here’s what they find. This is according to the FBI Report … What
             the Report says is that sometime in late Spring … early Summer, he [Seth Rich]
             makes contact with WikiLeaks. That’s in his computer … They found what he
             had done. He had submitted a series of documents … juicy emails from the DNC
             … He [Seth Rich] offered a sample, an extensive sample … of emails, and said I
             want money. Later, WikiLeaks did get the password. He had a … protected
             dropbox … He also, and this is in the FBI Report, he also let people know with
             whom he was dealing … The word was passed, according to the FBI Report, ‘I
             also shared this box with a couple of friends, so if anything happens to me, it’s not
             going to solve your problems’ … WikiLeaks got access before he was killed.”

      [https://www.youtube.com/watch?v=giuZdBAXVh0].

             141.   In his reporting, Folkenflik completely disregarded Hersh’s recorded

      statement.




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             142.   Instead, Folkenflik peddled a preconceived narrative that the Fox News

      story, directed and supported by Butowsky, was “baseless”.          Folkenflik knew his

      statements were false.

             8.     Folkenflik Knew About Wheeler’s Appearances On Hannity and Dobbs

             143.   On May 16, 2017, in the early morning, Fox published Zimmerman’s

      story entitled, “Seth Rich, slain DNC staffer, had contact with WikiLeaks, say multiple

      sources”. The article included the statements that Wheeler had made and approved.

      [http://web.archive.org/web/20170516133954/http://www.foxnews.com/politics/2017/05/

      16/slain-dnc-staffer-had-contact-with-wikileaks-investigator-says.html].

             144.   Fox News also tweeted Zimmerman’s story to its 16 Million followers:




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             145.    Folkenflik knew that on May 16, 2017 – after publication of

      Zimmerman’s article – Wheeler appeared on Fox News where he was interviewed by

      Sean Hannity (“Hannity”). [https://www.youtube.com/watch?v=CuRJDKEVxHY].

             146.    When he spoke with Hannity, Wheeler knew the Zimmerman article had

      been published with his approved quotations included.

             147.    Wheeler once again expressly confirmed that Seth Rich had

      communicated with WikiLeaks.

             148.    The transcript of Wheeler’s interview with Hannity is clear and

      unambiguous:

                     “HANNITY:           The timeline is fascinating here. As I played in the
             last segment, Julian Assange I asked him repeatedly on radio and television if
             Russia was involved, absolutely not. Now believe him or not, he’s the guy at
             WikiLeaks who has an 11 year history of never being proven wrong … I guess
             my question is when you look at the timeline of this, and 12 days after he was
             killed it shows up on WikiLeaks, what did you discover in terms of the
             contacts with WikiLeaks?

                     WHEELER:              Right, well that is an excellent question and let me
             clear that up right now exactly what it was that I found. Now I have never seen
             the emails myself directly. I haven’t even seen the computer that Seth Rich used.
             Here is the problem with all of this: I don’t even know where the computer is. I
             checked with the police department. They said they don’t know where the
             computer is and the FBI they say they don’t have the computer. Now, where did
             this information come from in terms of knowing or believing, I should say, that
             Seth Rich could have been in communications with WikiLeaks. There was a
             federal investigator that was involved on the inside of the case, a person that is
             very credible. And I’ll tell you, let me just say this Sean, I don’t like to suggest
             things without saying the person’s name, but I can’t say that person’s name
             because that person would be thrown under the bus. And I can’t do that, but this
             person we checked him out, we had to check him out, very credible. He said
             he laid eyes on the computer, and he laid eyes on the case file, and he came
             across very credible. When you look at that with the totality of everything
             else I’ve found in this case, it’s very consistent for a person with my
             experience to begin to think well perhaps there were some email
             communications between Seth and WikiLeaks. Everytime I talk to the police
             department though Sean, everytime I talk to the police department about the




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             WikiLeaks or the emails, it’s automatically shut down. That discussion is
             automatically shut down.
             …

      (Emphasis added). Wheeler never once informed Hannity that Zimmerman or Fox or

      Butowsky had misquoted him. Wheeler never claimed that Fox, with Butowsky’s support,

      had “fabricated” quotes or that the Zimmerman article was “fake news”. Wheeler never

      said that Butowsky had “fed” him “tips”. Wheeler went on to tell Hannity that:

                     “[i]f this is just a murder investigation, first of all why would the FBI be
             involved? The only reason the FBI would be involved just so that the viewers
             understand is if this has some degree of national exposure, meaning because
             maybe it is related to the DNC. We don’t know that. We don’t know that for
             sure. It could have been a botched robbery, but my point is this Sean and I’ve
             been investigating murders for a while you have to look at every possibility you
             can’t just look at one thing say well that has to be it … But here is the thing, and
             this is so important, there has been a $125,000 reward out for information
             pertaining to the death of Seth Rich. Not one person has come forward. Here is
             one other thing that is going to be startling and I’m just going to say this right
             now. I reached out to the police department way back in March when the family
             first hired me right to get involved. I didn’t hear anything from the police
             department for 2-3 days. Guess what I leaned yesterday [May 15, 2017] from the
             family of Seth Rich? The police department did not call me back because
             someone, a high-ranking official at the DNC, check this out, a high-ranking
             official at the DNC, when I called the police department. They got that
             information and called the Rich family wanting to know why was I snooping
             around?
             …

                   I don’t know for sure. I don’t know as a matter of fact if the emails
             went out to the WikiLeaks or anybody else, but it sure appears that way.”

      (Emphasis added).

             149.   Folkenflik knew all about the Hannity interview, just like he knew about

      Wheeler’s extensive text and email communications with Zimmerman and Butowsky.

      Folkenflik knew that Wheeler – who was held out by Wigdor as a seasoned DC homicide

      investigator – opined that it “sure appears” there were email communications between

      Seth Rich and WikiLeaks.



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             150.    Folkenflik also knew that Wheeler had disclosed to Zimmerman what the

      Rich family had said. In text messages on May 15, 2017, published on the Internet and

      available to Folkenflik, Wheeler expressly advised Zimmerman as follows:

             “Joel [Rich] said that when I called the police department, right after that Donna
             Brazile called him and was asking him why I was snooping around asking
             questions about death of Seth and his working relationships at the DNC. I was
             startled to learn that Donna Brazile even knew that I reached out to the
             police department. So basically when I called the police department that
             information was automatically given to Donna Brazile and she caught [sic] Joel
             wanting to know why I was inquiring about Seth relationships at the DNC. As a
             police investigator that automatically makes me think that Donna Brazile is
             in a category of persons of interest as it relates to the death of Seth Rich. I
             also spoke with another source who informed me that not only was Donna Brazile
             snooping around wanting to know what I was learning with regards to the DNC
             and Seth Rich but also I was told that Debbie Wasserman Schultz was
             snooping around wanting to know how much it was I [sic] learning.”

             “I just read the email you sent. Joel [Rich] informed me that Donna Brazile
             called him not the police department asking why I was snooping around.
             My question is how did she know I called the detective so quick.”

      (Emphasis added).

             151.    In addition to Hannity, on May 16, 2017 Wheeler appeared on Fox

      Business with Lou Dobbs (“Dobbs”) to discuss the Seth Rich murder investigation.

      [https://www.youtube.com/watch?v=2tqckO7bBjk]. Dobbs asked Wheeler about “this

      federal investigator, we’re in an unusual situation, an FBI forensic report showing 44,000

      emails 18,000 attachments, that approximates just about what was released by WikiLeaks

      … do you think that is a coincidence?” Wheeler replied without hesitation,

                    “WHEELER:              No, I actually don’t think it’s a coincidence… his
             information that he shared with Fox News is pretty consistent with everything else
             I’ve been learning24 including the fact that right now no one seems to know where
             the computers are that belonged to Seth Rich, the computers obviously were
             confiscated at some point.”


             24
                   Wheeler vouched for the FBI Report and expressed no doubt that there
      was email communication between Seth Rich and WikiLeaks.


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      When Dobbs asked about the claim that DC detectives were told to “stand down”,

      Wheeler stated:

                     WHEELER:               And that is a claim I actually heard myself from a
             detective, who said ‘Rod we were told not to investigate this fully’. Now see
             that’s interesting because that is consistent with what this federal investigator
             said. The federal investigator never knew Lou, that I had heard from a detective
             in the police department to stand down. Well if this guy says the same thing, you
             have to start saying to yourself well maybe there is some truth behind this. So,
             that’s why I think when you look at the totality of everything we have right now it
             is very consistent with what this federal investigator has said.
             …

                    We also don’t have body cameras that I know police officers were
             wearing on the scene the night in which Seth was killed. That’s a problem
             because we know for a fact those officers had on body cameras. No one knows
             where the video is. I think we are going to have to continue to look at this case
             and hope more will come out as time goes by Lou.”

             152.    Folkenflik knew that Wheeler’s statements to Marraco, Zimmerman,

      Hannity and Dobbs in May 2017 cast serious doubts on the false narrative promoted by

      Wigdor in June/July 2017. In spite of these doubts, Folkenflik published Wigdor and

      Wheeler’s statements as if they were true.25


             25
                     As was well-known to Folkenflik prior to publication of the false and
      defamatory statements at issue in this action, Wheeler made repeated positive statements
      to multiple people, and then, in less than 48 hours, claimed that his own statements were
      fabricated. Wheeler did a colossal flip-flop. Blake Hounshell, the Editor-in-Chief of
      POLITICO Magazine, observed:




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               9.       Folkenflik Knew About Wigdor/Wheeler’s Motive To Lie

               153.     On May 16 or May 17, 2017, one or more members of Seth Rich’s family

      or a spokesman for the Rich family (Bauman) threatened to sue Wheeler for violating the

      terms of his contract with the Richs by speaking with Marraco, Zimmerman, Hannity and

      Dobbs.        [See,   e.g.,   https://www.nbcnews.com/politics/justice-department/slain-dnc-

      staffer-s-family-orders-blabbing-detective-cease-desist-n762211].

               154.     Counsel for the Rich family, Joseph A. Ingrisano, Esquire, of Kutak Rock,

      notified Wheeler that his “statements and actions have caused, and continue to cause, the

      [Rich] Family severe mental anguish and emotional distress. Your behavior appears to

      have been deliberate, intentional, outrageous, and in patent disregard of the Agreement

      and the obvious damage and suffering it would cause the Family.” Ingrisano further

      advised Wheeler that his “improper and unauthorized statements, many of which are false

      and have no basis in fact, have also injured the memory and reputation of Seth Rich and

      have defamed and injured the reputation and standing of the members of the Family”.

               155.     Bauman, a DNC crisis operations, strategic planning, digital engagement,

      rapid response, and media relations “political consultant”26 deployed to represent the

      Rich family after the murder of Seth Rich, also issued a public statement. Bauman

      trumpeted the DNC party line: “Anyone who continues to push this fake news story after

      it was so thoroughly debunked is proving to the world they have a transparent political

      agenda or are a sociopath”. “In either case, they should be taken off the air because they


               26
                     Bauman is the former Executive Director of the Democratic Congressional
      Progressive Caucus, the largest caucus within the House Democratic Caucus. [https://cpc-
      grijalva.house.gov/what-is-cpc/]. He is currently an agent working for the “Pastorum
      Group”, a full-service communications and political strategy firm founded by Bauman
      and dedicated to promoting Democratic candidates, causes and coalitions.
      [https://www.thepastorumgroup.com/#about-section].


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      are either blind to the damage they are doing to a murder victim’s family or don’t care,

      showing a profound lack of judgement and common decency.” Bauman discouraged the

      investigation of Seth Rich’s murder, upon information and belief, because he was

      assisting the DNC in a cover-up of Seth Rich’s leak of emails to WikiLeaks.

             156.    The threats from the Rich family and Bauman provided Wheeler with a

      motive to lie, backtrack and to distance himself from the quotes and statements he had

      made to Marraco, Zimmerman, Hannity and Dobbs.

             157.    Folkenflik knew that Wheeler’s liability to the Rich family also provided

      Wheeler with a motive to lie about Butowsky, Zimmerman and Fox.

             158.    Folkenflik also knew that there was significant conflict between Wheeler

      and Seth Rich’s brother, Aaron Nathan Rich, an employee of defense contractor,

      Northrop Grumman Corporation (NYSE:NOC) with a Top-Secret security clearance.27

      Folkenflik knew that in a YouTube video recording (published July 12, 2017) Wheeler

      had accused Aaron Rich of obstructing the murder investigation by prohibiting Wheeler

      from inquiring about “emails”. [https://www.youtube.com/watch?v=2p8at6PD4L8].

      BigLeaguePolitics.com summarized the audio tape of Wheeler’s accusations of

      obstruction as follows:




             27
                     Aaron Rich is a Senior Software Engineer with NOC.


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      [https://bigleaguepolitics.com/audio-rod-wheeler-explains-fox-news-fiasco-claims-

      brother-blocked-wikileaks-inquiries/].

             159.   Aaron Rich’s obstruction and refusal to permit Wheeler to investigate Seth

      Rich’s emails caused Wheeler to believe that there were email communications between

      Rich and Wikileaks. In the July 12, 2017 audio recording, Wheeler positively stated,

      “with everybody pushing back on this email thing in the family and they’re so

      protective of the email, it leads me to think that perhaps there were some

      communications between Seth Rich and Wikileaks.”28




             28
                     Compare these statements to what Wheeler told Zimmerman and what was
      published in the Fox News’ story:




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             160.     Wheeler’s public statements about the Seth Rich emails should have

      caused Folkenflik (and Wigdor) to question the veracity of Wheeler’s subsequent denial

      of his quotations to Zimmerman.

             10.      Folkenflik Could Never Have Believed The Flip-Flopping Wheeler

             161.     Folkenflik knew that Wigdor’s source, Wheeler, flip-flopped on virtually

      all the essential facts, including what he (Wheeler) had told Marraco. The fact that

      Folkenflik accepted Wheeler’s word as true – when it was verifiably false – demonstrates

      that Folkenflik acted with reckless disregard for the truth.

             162.     In an article published on May 17. 2017 at 12:42 a.m., BuzzFeed News

      quoted Wheeler as follows:




      https://www.buzzfeed.com/claudiakoerner/the-private-detective-who-ignited-a-clinton-

      conspiracy?utm_term=.cmYQ8ZrbEz#.xr04N76J3z].

             163.     On May 17, 2017 at 11:32 p.m., Fox 5 DC published an editor’s note. The

      note emphasized that what Wheeler told Fox 5 DC on camera on Monday, May 15, 2017

      regarding Seth Rich’s murder investigation is in “clear contrast” to his representations

      “over the last 48 hours”. Fox 5 DC pointed out that Wheeler “backtracked” completely

      on his assurances given to Fox 5 DC and Fox News on May 15, 2017. After Wheeler

      backtracked, Fox 5 DC attempted incessantly to communicate with him, but he did not

      return calls or emails. On May 17, 2017, “just before our newscast, Wheeler responded

      to our requests via a telephone conversation, where he now backtracks his position and

      Wheeler       characterizes   his   on-the-record     and      on-camera   statements   as



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      ‘miscommunication.’”       [http://www.fox5dc.com/news/local-news/private-investigator-

      there-is-evidence-seth-rich-contacted-wikileaks-prior-to-death].29

             11.     Folkenflik Knew About Wheeler’s Statement to FetchYourNews

             164.    After May 17, 2017, Wheeler continued to publish statements that should

      have caused Folkenflik to doubt Wigdor and Wheeler’s false narrative.

             165.    On May 22, 2017, Wheeler released a statement concerning the death of

      Seth Rich that was published by Brian K. Pritchard of FetchYourNews.com.

      [http://fetchyournews.com/tag/rod-wheeler/]:




             166.    Wheeler’s written statement, in pertinent part, reads:




             29
                     Folkenflik (and Wigdor) had every reason to doubt Wheeler’s veracity.
      Wheeler’s backtracking and lies were a matter of public record. Folkenflik and Wigdor
      acted with reckless disregard for the truth when they deliberately republished Wheeler’s
      false and defamatory statements about Butowsky and Fox.



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      Wheeler publicly admitted that Zimmerman’s article was “essentially correct and

      worthy of further investigation”. (Emphasis added).30

             167.   Folkenflik failed to report any of this in his Articles. Rather, he concealed

      the truth and materially misrepresented Wheeler’s position.

             168.   Rupert Murdock’s daughter-in-law, Kathryn Murdock (wife of James

      Murdock), worked for the Clinton Foundation and is a friend of the Clintons.

      [http://www.qdvm.org/kathrynmurdoch/]. As Folkenflik well knew, Kathryn Murdock is

      also an outspoken critic of President Trump.

             169.   Zimmerman’s article was not pulled by Fox because it was “concocted” or

      “fake news” or “deceptive” or any of the other pejorative connotations used by Folkenflik




             30
                     Despite Wheeler’s own words, Wigdor and Wheeler falsely stated that on
      May 16, 2017, Wheeler called Zimmerman and confronted her about the use of false
      statements in the article. Wigdor and Wheeler ginned up a story that Zimmerman told
      Wheeler that she would have the statements removed from the article and, when they
      were not removed, that Zimmerman told Wheeler that she had been instructed by her
      bosses at Fox News to leave the false quotes in the story. Wigdor and Wheeler made up
      facts out of whole cloth. If Wheeler was upset about purportedly fabricated quotes
      of a highly politically-charged nature being falsely attributed to him, why would he
      admit in a written statement on May 22, 2017 that Zimmerman’s story was
      “essentially correct and worthy of further investigation”??? In truth, Wheeler
      admitted to FetchYourNews – on at least two public occasions on May 22, 2017 –
      that Zimmerman’s article was on the money.


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      and NPR.      At Kathryn Murdock’s request, and for political reasons, Fox pulled

      Zimmerman’s article.

             170.    On May 23, 2017, Fox retracted the article with the following explanation:

             “On May 16, a story was posted on the Fox News website on the investigation
             into the 2016 murder of DNC Staffer Seth Rich. The article was not initially
             subjected to the high degree of editorial scrutiny we require for all our reporting.
             Upon appropriate review, the article was found not to meet those standards and
             has since been removed.

             We will continue to investigate this story and will provide updates as warranted.”

      [http://www.foxnews.com/politics/2017/05/23/statement-on-coverage-seth-rich-murder-

      investigation.html].

             171.    On June 5, 2017, Wheeler denied back-tracking on Fox and Zimmerman.

      He told the hosts of YouTube channel, Crowdsource The Truth, that “I haven’t walked

      back anything. As a matter of fact, in my statement that I released a week ago … I said

      … in writing that I do believe that there was some communication between Seth and

      WikiLeaks and I believe that based on common sense”. (Emphasis added).31

      [https://www.youtube.com/watch?v=yDI0AFOHuNI]. Wheeler also confirmed that he

      had hired an “attorney”.

             172.    On June 19, 2017, Wheeler appeared on another YouTube channel,

      Jamarl Thomas, and tried to explain away his statements to Marraco. Wheeler stated:




             31
                     This is the exact same thing that he said to Zimmerman and that she
      quoted in the May 16, 2017 Fox News story.



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             “what happened was the Fox 5 reporter, a woman named Marina Marroco, she
             reached out to me on that particular Monday … So I had not read the actual report
             that was going to be released by the Fox News reporter on Tuesday, but I had
             heard there was going to be a report released.32 So the Fox 5 reporter asked could
             I give her a comment just a teaser, okay just teaser for the 10 o’clock news …
             So she asked me and this is important she said so you have information from a
             source that they have seen emails from Seth Rich computer? And I said I think I
             said something yes, confirmed. Now what did I mean by that? I meant that it was
             confirmed by the Fox News reporter who had just told me about this guy, not that
             it was confirmed that I saw it with my own eyes. So I never really back tracked
             on anything. The reporter from Fox News who told me yes it’s confirmed that
             this guy that this guy saw the emails, okay and so basically what I did was
             repeated that but not once have I ever said I saw the computer.”

      [https://www.youtube.com/watch?v=er8PhSOk85s]. Wheeler confirmed that his work

      for the Rich Family was “done”. Wheeler stated that he declined to keep working on the

      Seth Rich murder case because “my family and me has [sic] taken so much of a hit in the

      media over the past couple of weeks. To be honest, I’ve never had to deal with anything

      like this before. You know what I mean? … It takes a toll on you, so I decided I really

      don’t even want to be involved in this case anymore.”

      G.     FOLKENFLIK AND NPR REPUBLISH THEIR FALSE STATEMENTS

             173.   Between August 1, 2017 and August 1, 2019, Folkenflik’s Twitter

      following increased by over twelve percent. On August 1, 2019, he had a total of 86,700

      followers:




             32
                   This is a patently false statement. As evidenced by the emails and text
      messages on May 15, 2017, Wheeler had read Zimmerman’s report.


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              174.   On August 1, 2019, Folkenflik republished two of his original articles: his

      August 1, 2017 article, “Behind Fox News’ Baseless Seth Rich Story: The Untold

      Tale”   [https://twitter.com/davidfolkenflik/status/1156996074202177536      (“THREAD:

      Two years ago today, I reported this on Fox News’ discredited report about Seth Rich’s

      killing & the hacked Dem emails”) and his August 16, 2017 article. Folkenflik’s tweets

      were retweeted and republished hundreds of thousands of times:




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             175.   Prior to filing this second amended complaint, Butowsky fully complied

      with the Texas Defamation Mitigation Act (the “DMA”). Tex. Civ. Prac. & Rem. Code §

      73.051 et seq. He made timely and sufficient request for a retraction from Folkenflik and

      NPR. The Defendants refused to retract the defamatory articles and tweets.




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                                    COUNT I – DEFAMATION

             176.    Butowsky restates paragraphs 1 through 175 of this Complaint and

      incorporates them herein by reference.

             177.    Folkenflik and NPR made and published to third-parties, including

      subscribers, viewers, listeners, followers, main stream media, and print media, numerous

      false factual statements, which are detailed verbatim above, of or concerning Butowsky.

             178.    By publishing Articles on the Internet and by tweeting his false

      statements, Folkenflik and NPR knew or should have known that their false and

      defamatory statements would be republished over and over by third-parties millions of

      times to Butowsky’s detriment and injury. Republication by main stream media, print

      media and on social media was the natural and probable consequence of Folkenflik and

      NPR’s actions and was actually and/or presumptively authorized by Folkenflik and NPR.

      In addition to their original publications, Folkenflik and NPR are liable for the millions

      upon millions of republications of the false and defamatory statements by third-parties.

             179.    Folkenflik and NPR’s false statements constitute defamation per se or

      defamation per quod. The statements accuse and impute to Butowsky the commission of

      crimes involving moral turpitude (fraud) and for which Butowsky may be punished and

      imprisoned in a state or federal institution. The statements impute to Butowsky an

      unfitness to perform the duties of an office or employment for profit, or the want of

      integrity in the discharge of the duties of such office or employment. Folkenflik and

      NPR’s statements also prejudice Butowsky in his profession or trade as a registered

      investor advisor. Folkenflik and NPR’s statements caused Butowsky to suffer and incur

      both presumed and actual damages.




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             180.    Folkenflik and NPR’s false statements caused Butowsky to suffer loss and

      injury to his business, insult, pain, embarrassment, humiliation, and mental suffering,

      harm to Butowsky’s name reputation, out-of-pocket loss and other actual damages.

             181.    Folkenflik and NPR acted with actual malice and reckless disregard for

      the truth for the following reasons:

                     a.      Folkenflik, NPR and its editors and publishers violated their own

             Code of Ethics and abandoned all journalistic standards in writing, editing and

             publishing the Articles at issue;

                     b.      Acting in concert with Wigdor, Folkenflik and NPR conceived a

             story line in advance of any investigation and then consciously set out to make the

             evidence conform to the preconceived story. Folkenflik pursued and regurgitated

             the preconceived narrative that he knew to be false.

                     c.      Folkenflik and NPR relied on a primary source – Wheeler – that

             Folkenflik and NPR knew to be wholly debunked and unreliable. Based on

             information known and available to Folkenflik, Folkenflik in fact harbored

             serious doubt as to the veracity of Wigdor and Wheeler’s statements about

             Butowsky. Indeed, the statements were knowingly false, with not a shred of

             supporting evidence, and Folkenflik knew that before he wrote the Articles

             published by NPR.

                     d.      Folkenflik and NPR were in possession of Wheeler’s email

             communications and text messages with Zimmerman and other information that

             demonstrated the falsity of Wigdor and Wheeler’s information.           Folkenflik

             consciously and intentionally ignored known and available contradictory evidence




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            that demonstrated the preconceived thesis was false and deliberately failed to

            investigate sources of information (e.g., Marraco, Hersh, etc.) that contradicted

            the preconceived storyline.

                   e.      Folkenflik and NPR knowingly presented half-truths wrapped in

            misstatements and conjecture.     They repeated Wigdor and Wheeler’s words

            knowing that the words were false or inherently improbable and at a time when

            there were obvious reasons to doubt the veracity and credibility of both Wigdor

            and Wheeler. Folkenflik and NPR repeated Wigdor and Wheeler’s words at a

            time when they were cognizant of the sources inconsistencies and credibility

            problems.

                   f.      Folkenflik and NPR knew that Wigdor and Wheeler both had a

            strong motive to lie about Butowsky, and a motive to fabricate the charges

            conspiracy, collusion, fraud and “fake news”.        Folkenflik and NPR never

            questioned the extreme bias of their sources. Rather, Folkenflik and NPR were

            guided by their own extreme bias, ill-will and desire to publish a salacious story

            about the President, Fox, fake news and “collusion”. Folkenflik’s book, prior

            articles, blogs and tweets about Fox and Rupert Murdoch further demonstrate that

            he and NPR was prejudiced against Fox and had an axe to grind. Butowsky was a

            victim of that actual malice.

                   g.      Folkenflik and NPR chose to manufacture and publish false

            statements about Butowsky and use unnecessarily strong and violent language,

            disproportionate to the occasion, when they knew there was no evidentiary basis

            for the statements. Folkenflik and NPR did not act in good faith because, in the




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             total absence of evidence, they could not have had an honest belief in the truth of

             their statements about Butowsky.

                     h.      Folkenflik and NPR reiterated, repeated and continued to publish

             the false defamatory statements out of a desire to gain notoriety, increase

             revenues for NPR, hurt Butowsky and Fox and with reckless disregard for the

             consequences.

                     i.      Folkenflik and NPR initiated the defamation, and went out of their

             way to publish extra-judicial statements about Butowsky.

             182.    Folkenflik and NPR lacked reasonable grounds for any belief in the truth

      of their statements and acted negligently in failing to determine the true facts.

             183.    As a direct result of Folkenflik and NPR’s defamation, Butowsky suffered

      substantial presumed and actual damages and loss, including, but not limited to, pain and

      suffering, emotional distress and trauma, insult, anguish, stress and anxiety, public

      ridicule, humiliation, embarrassment, indignity, damage and injury to his personal and

      professional reputations, loss of business and income, attorney’s fees, costs, and other

      out-of-pocket expenses in an amount to be determined by the Jury, but not less than

      $60,000,000.00.

                           COUNT II – BUSINESS DISPARAGEMENT

             184.    Butowsky restates paragraphs 1 through 183 of this Complaint and

      incorporates them herein by reference.

             185.    Folkenflik and NPR published false and disparaging information about

      Butowsky, which is detailed verbatim above.




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             186.   Folkenflik and NPR knew their statements were false and acted with the

      specific intent to injure Butowsky and aid and abet the extortion money from Fox.

             187.   None of Folkenflik and NPR’s statements are privileged. Folkenflik and

      NPR had no right to publish false and disparaging information about Butowsky.

      Folkenflik and NPR knew of the falsity of their statements and acted with wanton,

      intentional and reckless disregard concerning publication. Folkenflik and NPR acted

      with ill-will and they intended to interfere with the economic interests of Butowsky in an

      unprivileged fashion.

             188.    Folkenflik and NPR’s statements and actions constitute business

      disparagement under Texas law.

             189.    Folkenflik and NPR’s business disparagement caused Butowsky to suffer

      and incur special damages, including loss of income and business and out-of-pocket

      expenses in an amount to be determined by the Jury, but not less than $60,000,000.00.

                               COUNT III– CIVIL CONSPIRACY

             190.    Butowsky restates paragraphs 1 through 189 of this Complaint and

      incorporate them herein by reference.

             191.   Beginning in July 2017 and continuing through the present, Folkenflik

      combined, associated, agreed or acted in concert with Wigdor for the express purpose of

      injuring Butowsky in his business and reputation as a Dallas investment advisor through

      the publication and republication of false and defamatory statements. In furtherance of

      the conspiracy and preconceived joint plan, Folkenflik and Wigdor orchestrated a scheme

      the unlawful purpose of which was to defame Butowsky and destroy his name and

      reputation. Acting in concert, Folkenflik and Wigdor utilized the various main stream




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      media outlets, professional and personal friendships and social media properties to

      publish, republish and spread the defamation and character assassination.

             192.     In conjunction with Folkenflik and NPR’s defamatory attacks on

      Butowsky and in furtherance of the conspiracy, Wigdor launched his own wehrmacht and

      published numerous false and defamatory statements about Butowsky, including the

      following:

                      a.     On August 1, 2017, after setting Folkenflik lose, Wigdor cranked

      up his own public relations wehrmacht, and began a blitzkrieg of defamation in main

      stream media, all of which was televised and broadcast in Texas. Wigdor first contacted

      MSNBC         and    scheduled   an    interview    with    Ari    Melber   (“Melber”).

      [https://www.youtube.com/watch?v=VFTdWAWrocQ]. In addition to the millions of

      people who, upon information and belief, watched the MSNBC interview live, Melber

      republished the interview to his 38,262 Twitter followers and to MSNBC’s 1,975,316

      Twitter followers:




      During the interview with Melber, Wheeler made the following statements:




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             “That’s right well I was asked to get involved in conducting an investigation, a
             murder investigation of Seth Rich and that why I got involved, so I could try and
             find out who killed this guy. During the course of my investigation, there was a
             lot of things that came up uh there was a lot of suspicious information that I was
             learning about possibly the DNC being involved to some degree, I don’t know.
             What I decided to do was to take all my information and give it to the police
             department like you should do in any case and go from there. But halfway
             through the investigation and up the point this article was released by Fox, there
             were these quotes in there from me supposedly saying that I knew for a fact that
             Seth Rich the decedent had been in contact with WikiLeaks emailing them emails,
             that was not true.
             …

             I think uh well I know for a fact Ed Butowsky, who was the individual that was
             funding the investigation, he had been in contact with people from the White
             House and he was the one that was pushing this Russian hacking narrative, by
             the way that I didn’t know a whole lot about because I wasn’t you know trying to
             debunk a narrative or support a narrative I was trying to find a murderer.

             I do know that, and Ed even admitted it himself. And I think the bottom line from
             all of this, Ari, is the reporter herself from Fox News she even admitted it that she
             lied and put those quotes in there. I mean she admitted that but at the same time
             to this day they have not retracted that as a result of those quotes and her story it’s
             then damaged my credibility and my integrity.”

      When asked about Butowsky’s May 14, 2017 text, Wheeler stated:

             “Well first of all, I’m thinking why would the President have to review a story
             pertaining to a death, to the murder of a guy in DC, why would the President even
             be involved in this, but at that point, Ari, it was rather obvious to me that they
             actually lured me into this investigation.33 They meaning this Fox News reporter
             and Ed Butowsky to substantiate this Russian narrative thing or to debunk that
             when in fact they told me that I was really getting involved just to solve a murder.
             All I want them to do is to correct the record, to tell the truth.”

      Wigdor represented to Melber that “discovery” would reveal “the emails and the texts

      the phone calls or the visits to the White House between Ed Butowsky and President


             33
                     Wheeler’s statements to Melber are revealing. Wheeler clearly did not
      believe the President was involved in anything. And, if Wheeler knew “at that point” –
      May 14, 2017 – that he had been “lured into this investigation”, why did Wheeler
      continue to communicate with Zimmerman on May 15, 2017? Wheeler did not tell
      anyone he was “lured” into anything until after publication of Zimmerman’s article on
      May 16, 2017 and after Wheeler was threatened with litigation by the Rich family and
      Bauman.


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      Trump and other people in the White House”. Wigdor knew these statements were

      false. He had no good faith basis to believe he was going to see emails, or texts or phone

      calls between Butowsky and President Trump – because none exist. These scandalous

      statements made to main stream media were solely intended to fuel the media frenzy

      created and stirred by Wigdor and Folkenflik.

                     b.     On August 2, 2017, Wigdor appeared on CNN with Wolf Blitzer,

      where he published the following false and defamatory statements about Butowsky:

             “I watched that interview last evening with your colleague, Chris Coumo, and it
             was actually highly entertaining because much of what he [Butowsky] said made
             absolutely no sense. You know take for instance the text message that he sent to
             Rod Wheeler. He said that the President read the article. He wanted it out
             immediately and now he’s trying to say that text was somehow a joke. I mean
             this was not a laughing matter. This was a text message. There was no emoji at
             the end of it. There was no smiley face. It wasn’t a joke. Ed Butowsky, as he
             said in texts, was in conversations with the White House, with the President.”

      [https://www.youtube.com/watch?v=S2BafRHiuZY].              Wigdor’s     entire   narrative

      regarding Butowsky’s connection to the White House, particularly the President, is

      knowingly false. Butowsky has never spoken to the President, nor has he claimed to

      have ever spoken to the President. Wheeler told Wigdor that there was no evidence of

      any connection between Butowsky and the President. Wigdor intentionally disregarded

      Wheeler’s advice, failed to conduct any investigation, failed to interview a single person,

      and even disregarded Spicer’s statements to Folkenflik that he (Spicer) was not aware of

      any contact between Butowsky and the President. It is axiomatic and obvious that

      “collusion”, i.e. between Butowsky and the President or between the Trump

      Administration and the “Russians”, cannot occur if the people have never met or

      communicated. “Collusion”, by definition, requires cooperation or agreement to act in

      concert. The suggestion that the President of the United States would have colluded with



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      Butowsky – a person unknown to the President and with whom the President has never

      communicated – is preposterous. Wigdor, like Folkenflik, knew that the representations

      were false. Wigdor and Folkenflik shamelessly republished the obviously fake news. In

      his interview with CNN, Wigdor repeated the misrepresentation published by Folkenflik

      in the First Folkenflik Article:

                     “What he [Wheeler] was hired to do was to do an investigation into the
             murder of Seth Rich, he wanted to do that, unfortunately he was used as a pawn in
             this case by Ed Butowsky and Fox News, he was used as a pawn again to steer
             away the narrative and that’s all documented not only in text messages, but also in
             voice recordings, the case is strong and not only were the statements made in the
             May 16 article false but you also have Ed Butowsky and Malia Zimmerman
             admitting those quotations were false.”

      (Emphasis added to highlight the false statements). The CNN/Wolf Blitzer interview was

      viewed live by hundreds of thousands of people, perhaps millions world-wide. It was

      uploaded to YouTube by Wigdor and viewed at least 228 more times.

                     c.      On August 3, 2017, Wigdor partner Jeanne Christensen appeared

      with      Wheeler        on        CNN      with       Chris      Cuomo         (“Cuomo”).

      [https://www.youtube.com/watch?v=d5L-NF6cDOo]. Wheeler published the following

      false and defamatory statements about Butowsky:

                     “WHEELER:               I really tried hard to find a murderer not to debunk a
             Russian narrative … And while I was in the process of trying to find that
             murderer behind the scenes what I did not know is that this reporter and this rich
             guy, Ed Butowsky, had another plan in mind and that’s why they brought me into
             this thing and I realize that now.
             …

                    As far as I’m concerned, this man [Butowsky] knew he was lying. He’s
             been lying the entire time.
             …




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                    We had this meeting [with Sean Spicer on April 20, 2017]. We met for
             about 10 -15 minutes and I’ll tell you real quickly how the meeting ended: Sean
             Spicer said, ‘I’m not sure how I can help with this investigation’. He said, ‘Rod if
             you want to talk some more about this or maybe if you want me to put you in
             touch with somebody at the Justice Department’. He gave me his business card
             … He also gave me his personal cell phone number … This is what he gave me,
             and he said if you need some more help give me a call. I’ve never called Sean
             Spicer after that, but that’s the truth and that’s what happened.

                    CUOMO:                 … This is not the court of public opinion. In a court
             of law you only know what you show and you’re going to have to demonstrate
             that Sean Spicer, if you’re going to include the White House in a concocted story
             scheme, then you’re going to have to show that they knew something about it and
             that they wanted to advance it and there is some merit to this suggestion the
             President of the United States had seen this article and wanted it advanced, do you
             have any proof to do any of that?

                      CHRISTENSEN:              We just filed a lawsuit as you know on the
             first [of August] and … the defendants are entitled to answer and then we will
             proceed to discovery and we will obtain that information that we believe is out
             there and will prove Rod’s story.”

      Wheeler’s own words prove that the White House did not know and was not involved

      any scheme to publish “fake news”.       Christensen’s words demonstrate that Wigdor

      published false statements without evidentiary support. The false accusation of collusion

      with the President, Spicer, Bannon, Flores, etc., was invented out of whole cloth. Wigdor

      republished the Christensen/Wheeler interview to Wigdor’s Twitter followers:




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                    d.     On August 3, 2017, Wigdor wrote an eight-page letter to British

      regulators (Ofcom), in which he repeated the false and defamatory statements about

      Butowsky. [See https://www.thedailybeast.com/fox-news-fake-news-could-doom-rupert-

      murdochs-dream].    Wigdor’s letter to Ofcom, inter alia, states that “Butowsky’s

      representations suggest something more than ‘low’ broadcasting standards. His claims

      suggest a failure to adhere to any standards. Fox must account for this failure and

      demonstrate why the public should have confidence in its commitment to broadcasting

      standards.”

                    e.     On Tuesday, August 8, 2017, the New York Times published an

      expose entitled, “Fox Is Said to Have Declined to Settle Suits for $60 Million”.

      https://www.nytimes.com/2017/08/08/business/media/fox-is-said-to-have-declined-to-

      settle-suits-for-60-million.html]. The article describes Wigdor’s motive for defaming

      Butowsky. The New York Times reported that:




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              “At a confidential mediation proceeding in late July [2017]34, the lawyer Douglas
              H. Wigdor asked for more than $60 million to settle several disputes with Fox
              News and 21st Century Fox, according to two people familiar with the matter.
              Mr. Wigdor proposed that the settlement be paid in a lump sum, giving him the
              discretion to distribute the payments, according to one of the people.

              Those cases included gender and racial-discrimination lawsuits against the
              company that Mr. Wigdor had filed on behalf of more than 20 current and former
              employees in the last several months and at least one explosive complaint that had
              not yet been made public.

              The company would not accept Mr. Wigdor’s offer and no resolution was
              reached, said the people, who requested anonymity to discuss a confidential
              matter. Mr. Wigdor’s proposal to settle the disparate cases all together is
              considered unusual, as it is rare that there are multiple suits with the same lawyer
              against the same party. Also, cases typically vary greatly in their merit, making
              them difficult to value as a group.

              After mediation failed, Mr. Wigdor went public last week with that explosive
              case, filing a defamation and racial-discrimination lawsuit against 21st Century
              Fox and Fox News that focused on an article about the death of Seth Rich, a
              young aide for the Democratic National Committee. The suit included
              accusations that the White House and a wealthy Trump supporter pushed Fox
              News to publish an article on its website as part of a scheme to end speculation
              about the president’s ties to Russia. Mr. Wigdor brought the suit on behalf of Rod
              Wheeler, a private detective involved in the case who said that Fox News had
              fabricated quotations from him in the article. Fox News, which later retracted the
              article, has denied the claims.”

                        f.      On September 19, 2017, Wigdor spoke with CNN Media’s Oliver

      Darcy        (“Darcy”).   [http://money.cnn.com/2017/09/19/media/fox-news-court-dismiss-

      lawsuit-seth-rich/index.html].     Wigdor made the following false and defamatory

      statements to Darcy:

              “We are confident that our client will ultimately be vindicated in a public court of
              law that will expose how Fox and the individually named defendants created fake
              news in an attempt at diverting attention away from the Russian hacking scandal.”



              34
                   It was at this mediation proceeding in July 2017 that Wigdor published the
      unprivileged draft complaint containing false and defamatory statements about
      Butowsky. Wigdor published the statements in an attempt to extort a settlement of the
      Wigdor Discrimination Suits.


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                     g.     On September 22, 2017, the New York Times published an article

      about Wigdor’s war against Fox entitled, “Leading the Legal War Against Fox”.

      https://www.nytimes.com/2017/09/22/nyregion/douglas-wigdor-fox-news.html]. Wigdor

      did not conceal his feelings for Fox: “My view of 21st Century Fox and Fox News is that

      from top to bottom there is a systemic culture of not only discriminating against people

      based on their gender and color, but also of retaliating against them when they stand up to

      voice complaints,” he told the New York Times, reaffirming the harsh assessment of Fox.

      “Am I at war with Fox?” Widgor added, repeating a question he was asked. “Yeah, I

      guess I am.”

                     h.     On September 22, 2017, Bloomberg Businessweek published an

      article entitled, “The Trump-Loving Lawyer Who Won’t Stop Suing Fox News”.

      [https://www.bloomberg.com/news/features/2017-09-22/the-trump-loving-lawyer-who-

      won-t-stop-suing-fox-news].    The Bloomberg article captured Wigdor’s malice and

      disdain for “19th Century Fox”. Wigdor told Bloomberg Businessweek that “[w]hen we

      write our complaints, there’s an effort on our part to make it as colorful as possible.

      We’re writing in a way that puts the company on its heels. Because we know that these

      companies have multimillion [dollar] marketing resources.         Now we’re suing this

      company and trying to change the public perception.” Wigdor told Bloomberg that part

      of his “press strategy” was to go “on the TV news circuit. Sometimes he stages press

      conferences. Often he grants in-depth access to a single reporter from a prominent news




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      outlet, on the condition that the story be embargoed until the day a suit is filed, when it

      can be set off like a firecracker.”35

                      i.      On October 23, 2017, Wigdor appeared on CNBC’s Closing Bell.

      [https://www.youtube.com/watch?v=KgmfpGdgaTg].            The following exchange took

      place concerning Fox’s bid to acquire Sky:

                      “CNBC ANCHOR:                 I’m curious why you would be called to
              testify in this particular case. This is about them being able to buy another
              company and whether or not they are fit to buy that company. You’re suing them.
              Of course, you are going to say they are not fit. You have an axe to grind here.

                      WIGDOR:               That’s a good question. I’m glad you asked it
              actually because what they are trying to determine is whether Fox should
              purchase Sky, the Foxification of Sky. Whether they meet broadcasting
              standards, whether or not they are fit and proper. Believe it or not I have not told
              the competitions and market authority what they should or should not do. I have
              not made any recommendations, but I feel obligated that I have a lot of
              information. I have 22 clients and I believe in transparency … I’m giving them
              information. They can do with that what they feel appropriate.
              …

                      CNBC ANCHOR:                  I’m coming off cynical here, but another
              part of me thinks, okay, you’re doing this to gain leverage with the company
              because you’re in negotiations with them. You can use this as leverage with
              them, to get a better settlement, maybe you don’t go [to England] the second time
              if you get decent settlements for your 22 clients.

                     WIGDOR:               I’m just trying to represent my clients zealously
              under the, under the auspices of the law. I’ve never tried to use this in my
              negotiations with them … I represent Rod Wheeler in the Seth Rich murder fake
              news case. I mean that goes to the very heart of broadcasting standards, and
              whether the British people want the Foxification of Sky is a serious issue for them
              to consider.”

                      j.      Wigdor used his Twitter account, @WigdorLaw, to simultaneously

      republish to a new target audience – Wigdor’s 421 Twitter followers – virtually every



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                      Consistent with his business model, Wigdor used Folkenflik as rocket fuel
      to ignite a main stream media feeding frenzy. Wigdor’s “press strategy” was to put Fox
      on its heels in order to extort a settlement in the face of all the bad press.


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      false and defamatory statement Wigdor ever made to main stream media and print media.

      [https://twitter.com/WigdorLaw?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwg

      r%5Eauthor]. Wigdor also republished every television interview given on and after

      August 1, 2017. Wigdor also retweeted and republished articles that contained false and

      defamatory statements about Butowsky. [https://www.thedailybeast.com/trump-told-fox-

      news-to-publish-seth-rich-murder-hoax-lawsuit-claims?via=twitter_page].

                     k.      In addition to Folkenflik, Twitter and Facebook, Wigdor used his

      own website to promote and republish false and defamatory statements about Butowsky.

      [https://www.wigdorlaw.com/wheeler-case-involving-fox-news-trump-administration-

      seth-rich/]. Wigdor’s website republishes multiple false and defamatory statements about

      Butowsky, including the following oft-repeated quote:




      Wigdor’s infamous quote, repeated by Folkenflik and hundreds of times by third-parties

      in articles, blogs, tweets and posts throughout the Internet, has been republished

      numerous times in the past year, including by Newsweek on March 29, 2018 in the

      following online article:




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             193.    Folkenflik and Wigdor, in furtherance of the conspiracy, acted

      intentionally, purposefully, without lawful justification, and with the express knowledge

      that they were injuring Butowsky.

             194.    Folkenflik’s joint actions with Wigdor constitute a civil conspiracy under

      Texas law.

             195.    Folkenflik and NPR are liable for both their acts of defamation committed

      in furtherance of and during the course of the conspiracy and the defamatory statements

      published by Wigdor.

             196.    As a direct result of Folkenflik’s misconduct, Butowsky suffered actual

      damages and loss, including, but not limited to, injury to and loss of business, injury to

      his reputation, insult, pain, humiliation, embarrassment, mental suffering, attorney’s fees,

      court costs, and other damages in an amount to be determined by the Jury, but not less

      than $60,000,000.00.

             197.    Butowsky has received death threats to his family, damage to his home in

      Plano, and thousands of ad hominem attacks. The ugly effect and impact of Folkenflik

      and Wigdor’s collusive arrangement is captured by the following Facebook post by

      Butowsky’s daughter, Lauren:




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      As a direct result of Folkenflik and Wigdor’s publications, Butowsky and his family were

      attacked mercilessly on social media. “Matt Thomas” sent the following messages to

      Butowsky’s wife and son via Facebook:




      “MattThomas_zoso” tweeted the following:




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      Other tweets were far worse. The defamation devastated Butowsky.



             Butowsky alleges the foregoing based upon personal knowledge, public

      statements of others, and records in his possession. Butowsky believes that substantial

      additional evidentiary support, which is in the exclusive possession of Folkenflik, NPR,

      their sources, Wigdor and Wheeler, and their agents and other third-parties, will exist for

      the allegations and claims set forth above after a reasonable opportunity for discovery.

             Butowsky reserves the right to amend this Complaint upon discovery of

      additional instances of Folkenflik and NPR’s defamation and wrongdoing.



                         CONCLUSION AND REQUEST FOR RELIEF

             WHEREFORE, Ed Butowsky respectfully requests the Court to enter Judgment

      against Folkenflik and NPR, jointly and severally, as follows:

             A.      Compensatory damages in an amount to be determined by the Jury, but

      not less than $60,000,000.00;

             B.      Punitive damages in the maximum amount allowed by Texas law;

             C.      Prejudgment interest on the principal sum awarded to Plaintiff by the Jury

      from August 1, 2017 to the date of Judgment at the maximum rate allowed by law;



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            D.   Postjudgment interest at the maximum rate allowed by Texas law;

            E.   Costs and such other relief as is just and proper.



                            TRIAL BY JURY IS DEMANDED



      DATED:     February 18, 2020



                                ED BUTOWSKY,
                                In his Individual and Professional Capacities



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                                  CERTIFICATE OF SERVICE

             I hereby certify that on February 18, 2020 a copy of the foregoing was filed

      electronically using the Court’s CM/ECF system, which will send notice of electronic

      filing to counsel for Defendants and all interested parties receiving notices via CM/ECF.




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